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         EXHIBIT 24
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               (Annual Report for 2015)                                            Qatar Charity




                                              [logo:]
                                     Qatar Charity
                                          Qatar Charity



                          Qatar Charity’s
                                          Annual
                          Financial Report
                                          for 2015




    [logo:]      Qatar Together…                towards Issued in: February 2016
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                                             Content of the
                                             Annual Report
 1.   Statement of the Chairman of the Board of Directors
 2.   Board of Directors
 3.   Statement of the Chief Executive Officer
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 7.   Management Report
           Most Important Accomplishments
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                  - Local Level
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                  - Field Level
           Giving and Distinction
                  - Resource Development
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                  - Institution Building
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                  - Implementation and Diligent Work
                  - Qualitative Projects
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           Ambition and Horizons
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           Auditor’s Report
           Financial Analysis




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               (Annual Report for 2015)                                             Qatar Charity

                                  Board of Directors of Qatar Charity

 1. HE Sheikh / Hamad bin Nasser Al Thani

           Chairman of the Board of Directors

 2. HE Mr. / Ahmed Abdullah Al-Marri

           Vice-Chairman of the Board of Directors

 3. HE Mr. / Mohammed Abdullateef Al-Mana

           Chairman of the Board of Directors

 4. HE Dr. / Mohammed Abdul Wahed Al-Hammadi

           Member of the Board of Directors

 5. HE Dr. / Hassan Lahdan Saqr Al-Muhanadi

           Member of the Board of Directors

 6. Mr. / Abdul Rahman Abdul Jalil Al Abdul Ghani

           Treasurer - Member of the Board of Directors

 7. Mr. / Mohammed Nasser Al Fuhaid Al-Hajri

           Member of the Board of Directors

 8. HE Sheikh / Mohammed Hassan Khamis Al-Marikhi

           Member of the Board of Directors

 9. Mr. / Yousef Ahmed Rashid Al-Kuwari

           Board Secretary - Member of the Board of Directors




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                (Annual Report for 2015)                                            Qatar Charity

                                 Executive Management of Qatar Charity

 1. Mr. / Yousef Ahmed Rashid Al-Kuwari

           Chief Executive Officer

 2. Mr. / Mohammed Ali Sharifa Al-Ghamedi

           Executive Director of International Development

 3. Mr. / Abdul Nasser Mohammed Al-Zahr Al-Yafei

           Executive Director of Support Affairs

 4. Mr. / Mohammed Abdullah Al-Yazidi Al-Yafei

           Executive Director of Financial Resources

 5. Mr. / Faisal Rashid Ali Tafla Al-Fuhaida

           Chief Operating Officer

 6. Mr. / Ali Ateeq Khamis Al-Abdullah

           Executive Director of Local Development

 7. Mr. / Salah Ahmed Mohammed Al-Hammadi

           Executive Director of Major Projects

 8. Mr. / Jassem Ibrahim Al-Nisf Al-Mansouri

           Executive Director of Communications and Marketing




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                       (Annual Report for 2015)                                                               Qatar Charity

 Statement of the Board of Directors
                                          In the Name of Allah, the Beneficent, the Merciful

Thanks be to Allah the Lord of all creation, and peace and blessings be upon the one Allah sent as a mercy to all creation, our
Prophet Muhammad, and his family and companions.

To the esteemed / Members of the General Assembly

          Peace be upon you and Allah’s mercy and blessings…

On behalf of myself and my brethren the members of the board of directors, I am pleased to offer your sincere gratitude and
appreciation for your support and guidance to Qatar Charity, and for your sincere efforts in cooperation to elevate its status, which
had the greatest impact, after the assistance of Almighty Allah, on raising the level of work at Qatar Charity. Accordingly, I am
pleased to present you with the Organization’s annual report as well as its financial statements and business results for the fiscal year
ended 31 December 2015.

It has become abundantly clear that unprecedented accomplishments were achieved during 2015 in the Organization’s performance
and that distinguished results were achieved, thanks to Allah, at all levels, be that the local, international or organizational level,
along with institution building and administrative development, thus raising the status of Qatar Charity, enhancing its capabilities,
achieving the aspirations of its members, and earning the trust of all who dealing with it, including government agencies in Qatar,
particularly the Regulatory Authority for Charitable Activities, the Ministry of Foreign Affairs, as well as local and international
donors and partners.

The unprecedented successes during 2015, which you will find detailed in this report would not have been possible without success
from Almighty Allah first, and then the determination, will and effort of the esteemed Chief Executive Officer, the executive
management and all employees at Qatar Charity, on the local level or the international level represented by Qatar Charity’s offices
abroad, which we consider the main element in supporting the wheel of progress and prosperity, followed by your unlimited support
and the guidance and supervision of the board of directors representing you.

In conclusion, I am pleased, on your behalf and on behalf of all Qatar Charity employees, to express our deepest gratitude and
appreciation to His Highness Sheikh / Tamim bin Hamad bin Khalifa Al Thani, the Emir of Qatar - may Allah protect him. We also
extend our most sincere gratitude and appreciation to His Excellency the Minister of Labor and Social Affairs - Chairman of the
Board of Directors of the Regulatory Authority for [Charitable] Activities, the Authority’s Director General, and all employees
therein. In addition, Qatar Charity’s management appreciates all of the sincere efforts by the government agencies, which have
helped and supported Qatar Charity to achieve its objectives. These objectives prioritize achieving the Qatar National Vision 2030,
whose targeted purpose stipulates the implementation of development and humanitarian initiatives in order to achieve global security
and provide aid.

Moreover, we thank all of the honorable donors and philanthropists, the members of the General Assembly, as well as all executives,
employees, collaborators and volunteers for their continuous and loyal efforts and giving to achieve the goals of Qatar Charity, for
their keenness to protect its gains and interests, and for increasing its prestige and competitiveness. We ask Almighty Allah to bless
these efforts, and look forward to Qatar Charity continuing to develop its performance and enhance its capabilities to support the
social development system. We also ask Almighty Allah to make 2015 [sic] even better than previous years.

                                                   Allah is the source of success…

                                                                                         Sheikh / Hamad bin Nasser Al Thani
                                                                                         Chairman of the Board of Directors




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                       (Annual Report for 2015)                                                                 Qatar Charity

 Statement of the Chief Executive Officer
To the esteemed / Members of the General Assembly
     Peace be upon you and Allah’s mercy and blessings…
Almighty Allah says: “And who is better in speech than he who calls [others] unto Allah, does righteousness, and says, ‘I am one
of those who have surrendered themselves to God?’”
I am pleased to offer you my sincere thanks and gratitude for your support and guidance, which had the greatest impact, after the
help of Almighty Allah, in raising the level of work at all guidance, supervisory and executive levels and at the level of the projects,
programs, activities and services that Qatar Charity provides. It has become abundantly clear that the Organization’s performance in
2015 and the distinguished results it achieved, at the local and international level, led to raising its status, enhancing its capabilities,
achieving the aspirations of its members, and earning the trust of all who dealing with it, including government agencies in Qatar,
particularly the Regulatory Authority for Charitable Activities, the Ministry of Foreign Affairs, as well as local and international
donors and partners.
Accordingly, we are pleased to submit to you the annual report on the Organization’s performance, as well as its financial statements
and its business results for the fiscal year ended 31 December 2015.
We have attempted to ensure that the report is brief, focused, and comprised of two main parts:
  1. The part related to the performance of and accomplishments achieved by the Organization and its various departments.
  2. The part related to the Organization’s financial statements and business results.
The unprecedented accomplishments achieved in 2015 would not have been possible without success from Almighty Allah first and
then determination and effort by all Qatar Charity employees, on both the local and international levels, whom we consider the
essential element in supporting the wheel of progress and prosperity.

In conclusion, I am pleased, on behalf of all Qatar Charity employees, to express our deepest gratitude and appreciation to His
Highness Sheikh / Tamim bin Hamad bin Khalifa Al Thani, the Emir of Qatar - may Allah protect him. We also extend our most
sincere gratitude and appreciation to the Regulatory Authority for Charitable Activities, represented by its board of directors,
executive director and all of its employees. In addition, Qatar Charity’s management appreciates all of the sincere efforts by the
government agencies in the State of Qatar, which have helped and supported Qatar Charity, whose objectives prioritize achieving
the Qatar National Vision 2030, and whose targeted purpose stipulates “the implementation of development and humanitarian
initiatives in order to achieve global security and provide aid.”

And the most sincere thanks and gratitude go to the esteemed donors and to the donor agencies that had faith in Qatar Charity and
enabled it to implement its projects. Moreover, we thank all partners from international, regional and local organizations, which
support us with all sincerity. In addition, we express our thanks to all executives, employees, collaborators and volunteers for their
continuous and loyal efforts and giving to achieve the goals of Qatar Charity, for their protection of its gains and interests, and for
increasing its prestige and competitiveness. We ask Almighty Allah to bless these efforts, and look forward to Qatar Charity
continuing to develop its performance and enhance its capabilities to support the social development system. We also ask Almighty
Allah to make 2015 [sic] even better than previous years.
                                                                                                       Yousef bin Ahmed Al-Kuwari
                                                                                                          Chief Executive Officer




         [logo:]         Qatar Together…                         towards Issued in: February 2016
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                      (Annual Report for 2015)                                                             Qatar Charity

 Qatar Charity in Brief
   A dream that has become a reality

         Qatar Charity: Qatar Charity is a non-governmental organization, founded in 1992 for the development of Qatari
         society and other needy communities. It works in the fields of sustainable development, reducing poverty, and disaster
         relief and emergency response. Qatar Charity endeavors to serve all needy people and communities regardless of their
         color, sex, religion, race or nationality. It has been in a consultative status with the United Nations Economic and Social
         Council (ECOSOC) since 1997. It is also a member of the General Founding Conference of the Arab Network for Non-
         Governmental Organizations in Cairo since 1999. Qatar Charity is considered one of the largest charitable organizations
         in the Gulf.

         Its Vision

         A leading development and humanitarian organization that draws on various optimal human experiences to achieve the
         strongest impact for the greatest impact.


         Its Message

         Support the capabilities of the neediest groups to achieve human dignity and social justice in cooperation with
         development and humanitarian work partners.

         Its Motto

                                     Together for a decent life

         Its Values

         Qatar Charity considers the principle of humanitarianism a well-established principle in its work. It also respects the
         values of independence, impartiality, and non-discrimination, as the Organization provides its development and
         humanitarian services to beneficiaries on the basis of need and without regard to any racial, ethnic, religious, political or
         other discriminatory considerations. To strengthen these humanitarian principles, in 2009 Qatar Charity signed the Code
         of Conduct Code of Conduct for the International Federation of the Red Cross and the Red Crescent and Non-
         Governmental Humanitarian Organizations. The Organization also constantly works to strengthen its capabilities to
         implement the highest professional standards in the humanitarian field such as those set forth in the Sphere Project for
         example.




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                     (Annual Report for 2015)                                                             Qatar Charity

       Qatar Charity’s values are:

              Humanity                        Independence                  Impartiality                 Non-
                                                                                                             discrimination

              Transparency                    Professionalism               Cooperation                  Affiliation

 Its Purposes and Objectives

       According to its bylaws, the Organization works to achieve the following objectives and purposes:

           1.     Supporting and advancing charitable, development and humanitarian work.
           2.     Establishing charitable work and supporting the values of citizenship and human rights in society.
           3.     Providing financial, in-kind and emotional support to needy groups.
           4.     Providing humanitarian, social, health, cultural, and educational services to all communities.
           5.     Establishing charitable projects of all kinds.

 Its Fields and Activities

       Qatar Charity works locally and internationally in the fields of development and humanitarian work alike. In the field of
       development, Qatar Charity prioritizes education, health, safe drinking water and sanitation, economic empowerment,
       social care, infrastructure in rural areas, improvement of social housing, and cultural development. Qatar Charity is
       focused on ensuring that its development interventions are consistent with the strategic and sectoral development plans
       of the countries in which it operates. It is equally focused on ensuring that these interventions are consistent with the
       considerations that govern development issues raised at the regional and international levels, as is the case, for example,
       regarding the Millennium Goals, etc.
       In the humanitarian field, Qatar Charity focuses its efforts on preparing for and responding to disasters and crises by
       providing food and non-food assistance, providing shelter services, providing beneficiaries with safe drinking water and
       sanitation services, reinforcing primary health services, and supporting peace-building efforts in conflict areas. In addition
       to development and humanitarian work, Qatar Charity also focuses on building the capacities of local civil society
       organizations as the Organization’s contribution to strengthening the role of this important sector in development in needy
       countries.

       Its most important fields and activities are as follows:

           1) Receiving, accepting and collecting all kinds of donations in accordance with the law.
           2) Providing funds, aid, relief, and as well as cash and in-kind loans to the needy.
           3) Helping needy groups to get them out of the cycle of poverty and destitution and into the cycle of sufficiency
                  and productivity, and creating sources for their livelihood through various projects.
           4) Establishing various funds for charitable and humanitarian projects.
           5) Urging and involving all segments of society to volunteer and engage in charitable, development and
                  humanitarian work.
           6) Building schools, health centers, hospitals, mosques and various education centers.
           7) Holding various seminars, conferences, workshops and lectures related to charitable and development work.

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                       (Annual Report for 2015)                                                              Qatar Charity

               8) Investing and managing the Organization’s funds to develop its resources and fund its charitable and
                     development activities.
               9) Holding and participating in charitable fairs and markets.
               10)    Becoming a member of the international charitable and civil organizations working to serve and develop human
                      societies.
               11)    Cooperating with all charitable and humanitarian institutions and civil society institutions to advance charitable
                      work and achieve its desired goals, and establishing partnerships with various charitable and development
                      sectors.
               12)    Sponsoring orphans.
               13)    Encouraging education by combating illiteracy and early stoppage of education.
               14)    Strengthening the relationship with the country’s various ministries, institutions and bodies, and urging them
                      to provide material and emotional support for charitable development projects.
               15)    Conducting awareness campaigns to preserve the noble values in society.
               16)    Helping remedy the wrong phenomena, habits and behaviors in society.


 Qatar Charity’s Strategic Plan
      Qatar Charity is working to achieve the following strategic plan:


          1.   Achieve sustainable social care.
          2.   Strengthen economic empowerment efforts and decent livelihoods.
          3.   Support education efforts for the benefit of societies in order to achieve development.
          4.   Maximize the use of technology in development and humanitarian work.
          5.   Contribute to achieving social harmony and coexistence.
          6.   Strengthen the role of Qatari society in interacting with development and humanitarian issues locally and
               internationally.
          7.   Building the capabilities of local partners.
          8.   Strengthening Qatar Charity’s institutional structure as an international non-governmental organization.




        [logo:]          Qatar Together…                       towards Issued in: February 2016
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                      (Annual Report for 2015)                                                            Qatar Charity

 Qatar Charity’s General Objectives
      To achieve its strategic objectives, Qatar Charity seeks to achieve the following general objectives:


       1.    Develop sustainable social safety nets that effectively meet the basic needs of the most vulnerable social groups in the
             areas of health, education, and social care, etc.
       2.    Strengthen economic empowerment efforts and improve decent livelihoods for the able-bodied poor through financial
             and non-financial services.
       3.    Enable the children of poor families in underserved areas to benefit from high quality education services.
       4.    Strengthen the ability of local communities to make maximum use of appropriate technologies, thus contributing to
             improving their quality of life and reducing the technological gap between northern and southern communities.
       5.    Support peace-building efforts, achieve social harmony, and instill a culture of coexistence as necessary foundations
             for achieving development and prosperity in the communities wherein and for whose benefit Qatar Charity works.
       6.    Build the capabilities of local civil society organizations, and support them to perform the roles assigned to them in
             society effectively, including the roles of promoting social harmony.
       7.    Provide humanitarian assistance to communities affected by disasters and crises, and help them prevent, prepare for
             and recover from their effects.
       8.    Strengthen the culture of charitable work in Qatari society, and link it to development and humanitarian issues.
       9.    Respond to high priority social and cultural needs for the benefit of Qatari society.
       10. Complete building of Qatar Charity’s capabilities, and finish preparing the various systems, policies, procedures and
             tools.




        [logo:]        Qatar Together…                        towards Issued in: February 2016
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                                Summary Management Report
 Qatar Charity’s Harvest for 2015
   Awards and Honors

     1. Qatar Charity won the award for Best Report in the Field of Social Responsibility in the State of Qatar for
         the year 2015 at the Corporate and Institutional Social Responsibility Conference and Awards organized by
         Dar Al Sharq Printing, Publishing & Distribution. This award reflects the excellence of Qatar Charity's local
         programs to serve Qatari society.

     2. Qatar Charity won Social Development Center’s 2015 Award in the institutional projects category, for the
         volunteer program that was distinguished by offering innovative social programs, supporting and incubating
         several youth volunteer programs and initiatives to enhance their impact and ensure their sustainability, and
         increasing its contribution to volunteer and distinguished projects, which in turn contribute to the
         development process.

     3. For the second year in a row, Qatar Charity was honored in the Bahraini capital, Manama, for winning the
         Al Sanabil Award for Social Responsibility in Orphan Care Institutions in the Gulf Cooperation Council for
         2015. It won the award in the category of community initiatives in the field of orphan care at the Gulf level,
         in appreciation of the "Rufaqa [Companions] International Initiative to Help Orphans" adopted by Qatar
         Charity.

     4. Qatar Charity won the Best Smart Applications Award dedicated to civil society organizations in the
         category of community organizations in the State of Qatar, during its sixth session, for the excellence of its
         applications, which have had positive interaction with the real needs of beneficiaries.

     5. The Kosovo office’s Qatar Training Center earned a rating of excellent on its administrative and professional
         evaluation from the Kosovo Accreditation Authority of the Council of Ministers, and obtained the
         International Computer License as an accredited training and testing center.

     6. The Sudan office was awarded the Pioneers Award for Volunteer Work for 2015 by the Humanitarian Aid
         Commission, which is the government agency supervising humanitarian work in Sudan.

     7. The Ministry of Preparedness and Relief in Bangladesh recommended that the Qatar Charity office in
         Bangladesh be considered an exemplary organization.




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                 (Annual Report for 2015)                                                 Qatar Charity

   Development and Growth

     1. During 2015, Qatar Charity’s asset grew by 18% as compared 2014. Indeed, at the end of 2015, they totaled
        one billion one hundred eighty four [million] Qatari riyals as compared to one billion four million Qatari
        riyals in 2014.

     2. During 2015, revenues from donations grew by 10% as compared to 2014. Indeed, in 2015 they totaled QAR
        1.014 (one billion fourteen million Qatari riyals) as compared to QAR 921 million in 2014.

     3. Payments for projects and sponsorships grew by 9% as compared to 2014. Indeed, in 2015 they totaled QAR
        871 million as compared to QAR 800 million in 2014.

     4. Administrative expenses comprised 4.5% of total receipts in 2015, a 0.10% decrease as compared 2014.
        However, in 2015 administrative expenses increased by 7.96% as compared to 2014 as a result of the
        increase in the volume of implemented projects.

     5. Real estate and financial assets grew by 16% as compared to 2014. Indeed, these assets totaled QAR
        959,301,136 as compared to QAR 824,365,136 in 2014.

     6. Investment income increased by 11% as compared to 2014, totaling QAR 57,172,934 as compared to QAR
        55,055,953 in 2014. In addition, net investment income increased by 7.3% as compared to 2014, while
        investment-related operating expenses decreased by 9% as compared to 2014.

     7. At the end of 2015, the number of sponsees increased to 91,846 in 39 countries around the world, a 21%
        increase as compared to 2014. Indeed, during 2015, Qatar Charity spent QAR 181,073,618 on the orphan
        sponsorship.

     8. Cash donations collected from the collection branches and outlets throughout Qatar grew by 45% in 2015
        as compared to 2014. In addition, in-kind donations grew to QAR 10,605,772 in 2015.

     9. 144 relief projects were implemented in 2015 for a sum of QAR 176 million as compared to QAR 104
        million in 2014, a 69% increase over 2014, benefiting about 2,430,473 people in 14 countries, with the
        participation of many international and humanitarian organizations and our field offices.

     10.Aid to families in Qatar totaled QAR 23,280,349, benefiting 670 individuals, with Qataris receiving 40.1%
        of the total amount of the aid. Various groups benefited from the aid, including widows, orphans, divorced
        women, debtors, patients, the infirm, the elderly, people with special needs, prisoners and others.




     [logo:]       Qatar Together…                  towards Issued in: February 2016
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   Administrative Development

     1. Approving and beginning implementation of regulations, policies and manuals for the headquarters and field
         offices, with the aim of organizing, developing and keeping pace with international standards in accordance
         with modern quality standards and administrative systems: Indeed, close to 80 regulations, policies and
         manuals were issued, 42 of which are for the headquarters, 32 are for the field offices, and 6 are for the
         headquarters and are in the process of being approved.
     2. Training, qualifying and raising the efficiency of employees through continuous training programs internally
         and externally during 2015: Indeed, over 220 employees benefited from many diverse training programs in
         many fields and specializations.
     3. Recruiting competent Qatari personnel: Indeed, at the end of 2014 there were 44 Qatari employees, and a
         larger number of professionals qualified in all fields were recruited and placed in upper and middle
         management as a first phase within the framework of restructuring the Organization.

   Expansion and Spread

     1. Increasing the spread throughout the country at all levels (branches, sites, fairs, markets, points of sale,
         containers, etc.) and reaching larger segments of Qatari society: Indeed, there are 22 collection branches for
         men and women, 74 collection point locations, 6 in-kind donation disbursement points, and 1,362 boxes
         spread throughout the country.
     2. 3 new offices were opened abroad in Djibouti, Chad and Kenya, and 8 offices are being established abroad
         in Morocco, Jordan, Ghana, Sri Lanka, Kyrgyzstan, India, Ghana [sic], and Togo.
     3. During 2015 Qatar Charity’s programs, projects and activities spread to encompass 74 countries in Africa,
         Asia, Europe, America and Australia. Indeed, the projects, programs and activities implemented by Qatar
         Charity outside Qatar during 2015 totaled about QAR 672 million, a 9% increase as compared to QAR 619
         million in 2014.
     4. During 2015, Qatar Charity implemented projects in European and Western countries for a total sum of
         QAR 21.3, and these projects included Islamic centers, cultural centers, mosques, and educational centers,
         etc.
     5. During 2015, more than 50 international and local strategic partnerships were signed. This is in addition to
         the existing partnerships. The most important partnerships that the Organization entered into were with the
         Qatar Fund for Development, the Foundation for Human Rights, Freedoms and Humanitarian Relief/Turkey
         (IHH), the Qatar Red Crescent Society, Silatech, the Education Above All Foundation, the Islamic World
         Educational, Scientific and Cultural Organization (ICESCO), the International Medical Corps (IMC), the
         Food and Agriculture Organization, the United Nations Children's Fund, and the Islamic Development Bank.

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      6. For the third year in a row, Qatar Charity earned first place in the world among non-governmental
          humanitarian organizations in the field of relief for the Syrian people, according to the report issued by the
          United Nations Office for the Coordination of Humanitarian Affairs (OCHA).

      Continuous Development

  1- Human Resources:
     The human element is one of the most important pillars at Qatar Charity. Indeed, the human element is the real
      pillar on which modern systems and real management are based to achieve their goals. Thus, the task of human
      resources management has become to recruit distinguished human elements and work to develop these elements
      through continuous training to create technical and administrative executives according to international
      standards through a work environment and competitive advantages in keeping with Qatar Charity’s strategy.
      Accordingly, we focused on the following in 2015:
         Improving the efficiency of employees through continuous training programs internally and externally
          during the previous year: Indeed, about 220 employees benefited from many training programs in many
          fields and such as (collecting donations, human development, secretarial work, relief, design, and customer
          service, etc.), and this was done through partnership with a number of training centers operating in Qatar,
          which provided their services for free or for a small fee to Qatar Charity.
         Increasing the number of employees at the headquarters and the offices abroad to keep up with the
          continuous development and spread required in accordance with Qatar Charity’s strategic plan as well as to
          achieve the desired goals. Indeed, there were 742 employees, an 8% increase as compared to 2014.


                 Report on the Current Status of Employees


                260
                                                     210
                                                                                        193

                482                                 475                                395



                2015                                2014                               2013

                                          Headquarters     Offices
                                                           abroad




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             Recruiting competent Qatari personnel, attracting the largest number of professionals qualified in all fields,
              and placing them in upper and middle management as a first phase within the framework of restructuring
              the Organization: Indeed, by the end of 2015 there were 44 Qatari employees.
             In 2015, a set of human resource regulations and policies were approved, eleven for the headquarters and
              twelve for the field offices, and their implementation actually began during that year.
             A proposal was submitted to create an employee training and skill development section, and it was approved
              for activation during 2016.

  2- Financial and Administrative Systems and Policies:

     During 2015, the Organization conducted several reorganizations, developed the organizational structure, laid
     the foundations for institution building, developed tools and work mechanisms, and applied modern programs
     and technologies, the most important of which were the following:
         1.     Developing plans, strategies and development systems for the Finance Department at the headquarters
                and field office levels, using the existing competencies at the Organization, and developing the collection
                systems so as to become electronic systems with the help of the departments specialized in this area.
         2.     Developing controls to activate the role of internal oversight, and protecting the Organization’s funds.
         3.     Implementing management’s strategic vision in line with the Organization’s strategy of modernizing and
                developing financial systems and internal oversight systems.
         4.     Approving and implementing financial and administrative regulations and policies and internal oversight
                systems for all departments at Qatar Charity, which totaled 42 issues for the headquarters and 32 issues
                for the field offices, as indicated in the table below:

                  Regulations, policies, guides and operating systems for headquarters and field offices
                 No.                      Work                     Headquarters        Field Offices            Total
                   1      Identity and plans                            4                    0                   4
                    2     Organizational structure                        2                  3                    5
                    3     Finance                                         10                 8                   18
                    4     Oversight                                       4                  2                    6
                    5     Human resources                                 13                 12                  25
                    6     Administrative                                  7                  5                   12
                    7     Electronic systems                              1                  1                    2
                          Approved international management
                    8                                                     1                  1                    2
                          systems
                                       Total                              42                 32                  74




     [logo:]             Qatar Together…                   towards Issued in: February 2016
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                  (Annual Report for 2015)                                                       Qatar Charity


                        The regulations, policies, manuals and work
  25
                        systems issued for Qatar Charity

  20
  15
                                                                   25
  10                                      18
  5                                                                              12
                                                                                                2          2
             4               5                         6
  0
         Identity Organizati                      Oversig       Human Administr Electronic Approved
                      onal              Finance                                  systems internatio
           and                                      ht         resources ative
          plans    structure                                                                  nal
                                                                                           managem
                                                                                              ent
                                                                                            systems
                  Regulations, policies, systems and work manuals for
                  headquarters and field offices



                                                  32
                                                                42



                                           Headquart          Field Offices
                                              ers

        5.   Activating the role of the General Services Department so all procurement occurs in accordance with the
             internal controls and oversight, and restructuring management in line with the volume of requests and
             services for the projects so as to operate with the requisite quality and transparency.
        6.   Starting application of the electronic exchange system at the headquarters and field offices, and direct
             linkage with the accounting program, which has led to an increase in the efficacy of the role of internal
             oversight over all financial transactions.
        7.   Creating a warehouse and logistical support unit to protect the Organization’s assets and property.
        8.   Insuring all of the Organizations assets, including buildings, vehicles, warehouses and collectors. All
             fixed boxes located at Islamic companies are also being insured under the Takaful cooperative system.

       [logo:]      Qatar Together…                     towards Issued in: February 2016
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                    (Annual Report for 2015)                                                  Qatar Charity


       9.     Starting application of a number of electronic programs pertaining to the Organization’s activities, and
              they are:
                   The internal and external disbursement system.
                   The clock-in/clock-out system and integration with the current systems (MenaMe).
                   The new electronic collection system.
                   The bank clearing system.
                   The online supplier registration system.
                   The Zhukhr aid disbursement system.
                   The archive system.
                   The contract system.
                   The estimated budget software.


  3- Information Technology:
         a. Regarding software development, many software programs and electronic systems were developed, the
         most important of which are:
             The electronic service system.
             The contract system and integration with the internal disbursement system.
             Qatar Charity’s new website.
             Qatar Charity’s iPhone app.
             The field video app for android phones.
             Home collection app.
             The budget system.
                 The communication center systems and linkage with the Lync software.
                 The new Rufaqa [Companions] website.
                 The text message system (sponsorships, etc.).
                 The advance settlement system.
                 The clearance system (final, collector, treasurer).
                 The trust management system (delivery, receipt, depreciation, inventory, etc.).
                 Developing a complete system for the Easing Hardships program (website, mobile telephone, SMS,
                  customer service, etc.).
                The system of linking related products to each other (from the field).
                The official missions system and linking it to the internal disbursement system.
                Information technology inventory management software.
                Online chat system.
            b. Regarding infrastructure and networks:
                Developing communications and email systems at the Organization.
                Connecting with telecommunications companies (Ooredoo and Vodafone).
                Developing and improving the efficiency of self-service devices (kiosk).

      [logo:]         Qatar Together…                  towards Issued in: February 2016
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                     (Annual Report for 2015)                                                     Qatar Charity

                    Developing the infrastructure of the database servers.
                    Preparing the infrastructure for Qatar Charity’s new websites.
                    Developing new website protection systems.


  4- Financial Systems:

     The Financial Department is working to achieve Qatar Charity’s strategic vision on all levels, make a qualitative
     shift in terms of objectivity, transparency, clarity, accuracy and speed of fulfillment of responsibilities,
     constantly work on continuous electronic development, and implement the latest internal control systems in
     accordance with international auditing standards so as to ensure achievement of the maximum possible quality
     of work, and always institute continuous development systems, which in turn leads to controlling the level of
     performance and implementing the latest internal oversight systems in line with the continuous development of
     the Organization’s departments.


  5- Resource Development:

     Qatar Charity paid close attention to the process of collection and marketing, which are the main tools for
     attracting resources to the Organization. As a result, work was done on more than one level in this regard, as
     follows:

       1.       Attracting major philanthropists, donors and businessmen in Qatar and communicating with them
                directly.
       2.       Enhancing the confidence of government agencies in working with Qatar Charity.
       3.       Increasing the spread throughout the country at all levels (branches, sites, boxes, containers, fairs,
                markets, points of sale) and reaching larger segments of Qatari society, through:
                   Increasing the Organization’s collection branches. Indeed, by the end of 2015, it had 22 collection
                    branches and 74 collection point locations throughout the country, for a total of 96 outlets.
                   Increasing the number of fixed collection boxes. Indeed, by the end of 2015, they totaled 1,435 boxes.
                   Increasing the number of in-kind donation containers. Indeed, by the end of 2015, they totaled 201
                    containers.
                   Increasing the number of in-kind points of distribution. Indeed, by the end of 2015, they totaled 6
                    sale outlets.
       4.       Launching electronic collection on automated coupon machines and collecting funds via the Internet and
                via SMS.
       5.       Instituting new mechanisms to attract Zakat resources. Indeed, marketing plans were developed and
                relationships with major companies and philanthropists were strengthened.



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       6.    Establishing strong and effective partnerships with reputable institutions in Qatari society, recruiting
             VIPs to financially contribute to Qatar Charity projects, and attract young people to engage in volunteer
             work on the Organization’s activities and campaigns.
       7.    Creating electronic monitoring systems to track collectors in the field.
       8.    Hiring 20 new collectors to occupy strong positions, which contributed to increasing work hours and
             thus increasing the revenues collected.
       9.    Organizing four specialized courses for collectors and supervisors in order to raise their efficiency and
             professional level.
       10. Introducing the mobile collector system, where the good relations that link some collectors to some
             donors have been taken advantage of.
       11. Introducing the “Aghla Hadiya [Most Cherished Gift]” project: The project consists of building a
             mosque to be presented as a gift by the donor to whomever he wishes. Thanks be to Allah, 50 mosques
             were marketed through the Ramadan campaign to the (QAR 50,000 to 60,000) [donor] groups.
    In-kind Donations:
            During 2015, realized revenues totaled QAR 10,605,772, including QAR 10,605,772 in revenues from
             the charity market.
            In-kind aid to the Syrian people totaled QAR 6,416,320, as follows:
                 -    12 containers of in-kind aid to the Syrian people in cooperation with the Turkish Islamic Relief
                      Organization (IHH), and Qatar Charity volunteers for an estimated value of QAR 2,785,640.
                 -    10 containers of in-kind aid to the Syrian people for an estimated value of QAR 3,630,680.
            60 containers of additional in-kind donations that are fixed and spread around the country were
             distributed for a total of 201 distributed containers, and efforts were made to distribute them
             geographically and in highly populated areas.
            Organizing specialized courses for in-kind donation employees in order to improve their professional
             and functional level.




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                     (Annual Report for 2015)                                                      Qatar Charity




  Sector Reports and Geographic Analysis of the Projects
    First: Qatar Charity’s Fields, Projects and Activities

Amending the table by adding 2015 data, and amending the table to begin with 2015, followed by 2014 then 2013, etc.
I also think that there is no need for the percentage change that makes a comparison with 2012, and that a comparison
with 2013 is sufficient.


                                                                                                As a     Percentage
                                                           Payments
        Main Field                                                                          percenta change for 2014
                                                                                                ge of
                                   2011             2012              2013       2014           total   2012     2013

 Social Field                   90,711,840    134,785,882       151,368,850   173,506,770       25%     29%      15%

 Advocacy Field                 47,476,997    122,598,348       129,688,286   167,370,536       24%     37%      29%

 Relief Field                   30,335,583    98,882,205         64,493,501   119,627,236       17%     21%      85%

 Seasonal Fields                24,206,726    26,728,599         32,955,358    38,103,931        6%     43%      16%

 Family Development              2,705,550        8,605,250      31,136,377    44,486,988        6%     417%     43%
 Field

 Educational Field               1,522,767        2,969,095      21,171,193    35,178,999        5%     1085%    66%

 Village and
                                44,178,558        2,452,560      17,538,726    44,339,527        6%     1708%   153%
 Community
 Reconstruction Field

 Water and Sanitation            2,361,222    11,979,331         16,104,056    29,506,984        4%     146%     83%
 Field

 Health Field                    9,075,991    17,814,239         10,624,546    29,870,273        4%     68%     181%

 Other various fields            4,802,841        3,958,357      2,421,131     5,469,452         1%     38%     126%


           Total                257,378,076   430,773,866       477,502,025   687,460,697       100%    60%      44%




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                   (Annual Report for 2015)                                                       Qatar Charity




   Second: The Geographic Areas and Countries Wherein the Organization Focuses Its Activities

        Local Level (Inside Qatar)

      - Based upon the strategic plan for local development at Qatar Charity, and its three social, economic
        and cultural pillars, which are compatible with Qatar Vision 2030, and out of the belief in the
        importance of helping to find programs that serve different segments of society, work has been done
        to ensure the selection of programs and activities to be implemented in keeping with the national vision
        to address five challenges:
                  1. The modernization and preservation of customs and traditions.
                  2. The needs of the current generation and the needs of future generations.
                  3. Targeted growth.
                  4. The path of development in Qatar.
                  5. Economic and social development as well as environmental protection and development.
        Accordingly, there was significant expansion in the programs and activities within Qatar. Indeed,
        many cultural, educational, social and seasonal projects were implemented, including
  -       The Ramadan public program (Al-Baraha) was held at The Pearl-Qatar and in the cities of Al-Khor and Al-
          Shahaniya.
  -       Activation of The Pearl and Katara mosques. Indeed, a group of well-known Quran readers and lecturers were
          recruited to come to the mosques.
  -       The Ramadan radio program, Taraweeh, experienced a qualitative shift this year. Indeed, revenues jumped to
          over QAR 50 million by introducing the community to Qatar Charity’s projects in a different way.
  -       The month of Ramadan of the year 1436 A.H. [2015 A.D.] witnessed an increase in the number of tables to
          37 and a reduction in their costs to make it easier to find donors. This included 21 Iftar tables overseen by
          Qatar Charity directly, 2 tables that it only funded, 13 tables for communities funded by the Organization and
          overseen by the communities approved in Qatar, one mobile table for industrial workers, and one table funded
          with a tent only. Moreover, a Suhur [pre-fast meal] project was introduced this year.
  -       There were also other projects that touched the community, such as Saqy Al-Musaleen [Water for
          Worshipers], Iftar Al-Jawal [Mobile Iftars], and Fih Al-Aafiya [Wellness]. These projects benefited over
          385,000 people.
  -       For the fourth year in a row, the National Program for Strengthening Values was held, with participation
          from 56 schools. Moreover, the number of products from students in the competition fields increased to 95
          subjects, an increase of 25 subjects from last year. The program achieved revenue of QAR 875,398, which
          was allocated to build 5 schools abroad.
        [logo:]      Qatar Together…                      towards Issued in: February 2016
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                 (Annual Report for 2015)                                                     Qatar Charity

  -     For the first time we achieved radio spread. Indeed, the program Asfar was broadcast on the Sout Al-Khaleej
        [Voice of the Gulf] station, the program Min Al-Qalb [From the Heart] was broadcast on Qatar radio’s public
        program and the Quran station, and the program Anfaahum Lilnas [The Best of People] was broadcast on the
        Qatar Foundation station.
  -     In the 15 months since its launch on 2/9/2014, the radio program Tafreej Karba [Easing Hardship] has
        generated revenues of QAR 55,172,653 through the 60 episodes in the life of the program.
  -     The Suhba [Companionship] program continues to provide a set of ongoing activities for middle school
        students, where the project offers a variety of activities, events and dialogue within a value framework.
  -     The Saqy Al-Ommal [Water for Workers] project: Water was distributed in various areas from Al-Khor to
        Al-Wakra, and water and juice were distributed to workers during the period from morning to noon.
  -     The “Adamha” project continues for the third year to support productive families. Indeed, it provided meals
        for some of the Iftar Al-Saim [Meals for Fasting Individuals], Iftar Al-Jawwal [Mobile Iftar] and Min Al-
        Bayt Lilbayt [From Home to Home] tables, benefiting a total of 1,050 beneficiaries daily and 31,500
        beneficiaries during the month.
  -     The “Lakum Tahia [Greetings to You]” program aims to provide workers with personal hygiene tools. After
        that, a contract was concluded with a group of companies to join the project, as well as hotels, companies and
        institutions to donate quantities of personal hygiene tools. The project covered 4,500 workers.
  -     For the second year, the Saqya [Water] project is distributing water bottles to workers and they are being
        educated by doctors and specialists about dehydration.
  -     The “Patient Clinic” program: A large number of patients were visited in the Al-Rumaila and Al-Khor
        hospital.
  -     During Ramadan, we began the advocacy project by designating a group of sheikhs, preparing a schedule for
        various visits to ministries, councils, government ministries, private institutions and bodies, schools, The
        Pearl Hall, the Al-Ansari Complex and farms, as well as publishing videos.
  -     The Arabic language through nature and practice project, which is a training course directed at teachers of
        subjects taught in Arabic. The project continues annually for schools, and 450 schools benefited from it this
        year.
  -     The Ana Ighathy [I am a relief worker] project, which was launched in cooperation with Qatar University,
        and which aims to spread awareness about the concept of relief and disaster response.
  -     To celebrate World Diabetes Day, a poster was launched on social media channels, entitled “Balanced
        Nutrition is Required,” a Qatar Charity initiative to serve as a reminder on World Diabetes Day.
  -     The sacrificial animal project for 1436 A.H. [2015 A.D.] for the benefit of 12,000 beneficiaries, representing
        5,600 beneficiary families.
  -     The “How to You Earn the Love of Students” program, implemented by Sheikh / Shaqr Al-Shahwani, by
        giving weekly lectures to teachers. 46 lectures were given at school and attended by 550 teachers.
  -     Qatar Charity participated in a number of exhibitions and forums, specifically the Awareness and Aid
        Methods Exhibition, the “With Our Hands We Plant Our Values” Exhibition, and the Civil Defense
        Exhibition. 5- Mitigation of disasters. Indeed, it was an opportunity to showcase Qatar Charity's programs
        and projects.


      [logo:]      Qatar Together…                   towards Issued in: February 2016
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                 (Annual Report for 2015)                                                         Qatar Charity

  -     Qatar Charity organized a trip to China for 19 orphaned students along with chaperones and managers for the
        Future Leaders [program], with organization by Debono [phonetic] Qatar Company, in order to reinforce
        Islamic values, develop and refine behavioral and personal skills, and provide an introduction to industry
        from the inside.
  -     Qatar Charity looked forward to adopting a set of community initiatives. Indeed, a contract was signed with
        the Educational Pioneers Initiative, which considers the project a youth initiative and which is preparing a
        generation capable of bearing the burdens of life while developing its capabilities and skills in various areas.
  -     As of the end of 2015, the Zawaj [Marriage] project had resulted in 242 marriages. Please note that, as of the
        date of the annual ceremony in 4/2016, 29 marriages had been registered and this number is likely to increase.
        The goal of the project is to enable young people to marry free of charge so as to ease the burdens of marriage
        on them, as well as provide them with indirect cultural and social support to preserve the institution of
        marriage. Marriages are held in Qatar Charity’s tent.
  -     There were 20 visits to the councils of elders, dignitaries and families, to offer a set of lessons in the field of
        faith and education, and gifts were offered at each visit.
  -     Qatar Charity celebrated World Orphans Day with the cooperation of the Barzan Youth Center. 100 orphans
        participated, and the events included contests, educational values, and the distribution of gifts. Orphans
        participated in the events with their families and siblings.
  -     Via the partnership between Qatar Charity, IKEA and UNICEF in GCC countries, under which children
        sponsored by Qatar Charity benefit from the toys that the company manufactures and sells, IKEA collects the
        proceeds from the toys and transfers them to countries whose children lack educational opportunities.
  -     On occasion of National Sports Day, in cooperation with UNICEF and the IKEA Toy Company, Qatar
        organized a party to distribute gifts to children and the rest of the games that Qatar Charity distributes to the
        orphans it sponsors, as well as sick children in hospitals. 964 dolls were received in 2014 and 1,052 dolls
        were received in 2015.
  -     For the second year in partnership with Nestle, the Giving Baskets project was implemented. These baskets
        contain food items comprised mostly of Nestle products, which are distributed to low income families through
        Qatar Charity.
  -     Rations were distributed in cooperation with Qatar Academy. Indeed, students prepare cartons containing
        food items that are distributed to low-income families. 150 students participated in distributing the items in
        the Abu Hamour residential area.
  -     Water cooler project: The project has continued since 2004 and until 2015. There are 205 coolers distributed
        throughout Qatar.




      [logo:]      Qatar Together…                     towards Issued in: February 2016
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                     (Annual Report for 2015)                                                   Qatar Charity

In the Field of Internal Aid

During 2015, Qatar Charity provided aid totaling QAR 23,280,349, encompassing many groups in Qatari society as
follows:

                                        Social Aid Within the State of Qatar During 2015


                                                                                             Number of
                            Group                                      Amount
                                                                                            Beneficiaries
                 Low income individuals                               3,403,676                 186
                         Debtors                                      5,454,612                  73
                         Patients                                     9,929,668                 201
                 Unemployed individuals                               1,946,717                 114
                  Prisoners/Detainees                                  114,450                   7
                        Students                                         7,000                   1
                    Divorced women                                     779,192                   43
                         Widows                                        210,760                   15
                The elderly and the infirm                             183,000                   10
                        Prisoners                                     1,013,274                  9
                    Abandoned wives                                     63,000                   4
                       Wayfarers                                        20,000                   2
                People with special needs                              155000                    5

                                Total                                23,280,349                 670


                         Nationality                                    Total          Number of Beneficiaries
                           Qatari                                     9,335,499                158
                         Non-Qatari                                  13,944,850                512

                                Total                                23,280,349                 670




           [logo:]     Qatar Together…                       towards Issued in: February 2016
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                     (Annual Report for 2015)                                                    Qatar Charity

Social Development Centers

Qatar Charity has a set of social centers in various locations in Qatar. These centers experienced qualitative and
quantitative development, as the number of centers reached 8. The centers specialize in providing various activities,
programs and events for the benefit of all segments of society, developing the various segments of society within the
geographical scope wherein they are located, and activating the energies and skills of individuals.
The centers also experienced fruitful interaction with the community through a set of national events and celebrations,
such as National Day, the Eid Ul-Fitr and Eid Ul-Adha Festival, and other religious and national celebrations.
The community development centers implement their programs in Qatar, according to educational standards supervised
by specialized experts, and focus on developing all behavioral, ethical and skill aspects of the centers’ employees and
beneficiaries. All work was carried out by staff specialized in community service who work at the community
development centers by geographic area, where qualitative and specialized programs are provided for all segments of
society to fulfill and meet the need in Qatari society. The community development centers’ most prominent achievements
were as follows:
        1)   Targeting more than 82,000 beneficiaries by implementing over 1,000 quality and specialized programs in
             the various geographic areas of Qatar.
        2)   Qataris who benefited from all programs accounted for 40% of the total beneficiaries.
        3)   200 Qatari students who are studying abroad were targeted by holding workshops and training programs
             for them.
        4)   400 media (video) awareness, value-added and advertising materials were produced and published on social
             media, targeting all segments of society.
        5)   Over 1,200 Qatar (male and female) employees were recruited through the various value-added and training
             programs at community development centers, Al-Khor, Al-Rayyan and Al-Wakra branches.
        6)   Over 1,000 orphans (future leaders), elderly individuals and widows were included in specialized and
             qualitative programs that were carefully and professionally provided to these targeted segments by staff
             specialized in these programs.


         2011                    2012                    2013                 2014                    2015

       5 centers                6 centers              7 centers            10 centers           8 centers




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                   (Annual Report for 2015)                                                    Qatar Charity

       International Level

   In addition to focusing on local within Qatar, the Organization also gave foreign work more importance. Indeed,
   during 2015 Qatar Charity’s programs, projects and activities expanded, encompassing 73 countries in Africa,
   Asia, Europe, America and Australia.

       Qatar Charity’s (Field) Offices Abroad
   The number of Qatar Charity’s field offices reached 22, with offices in Palestine, Pakistan, Yemen, Sudan, Somalia,
   Mauritania, Indonesia, Bangladesh, Niger, Burkina Faso, Comoros, Mali, Albania, Bosnia, Kosovo, Tunisia,
   London, Turkey (coordinating office), Djibouti, Chad, and Kenya. This is in addition to Qatar Charity’s work in
   Qatar, and wherever best interest so requires, Qatar Charity has more than one office in a single country, as is the
   case for example with Sudan, Pakistan and Palestine. Qatar Charity is seeking to increase the number of its field
   offices abroad to reach 30 offices.
   Qatar Charity gave special priority to countries wherein it has field offices for several reasons the most important
   of which are:
            1.      Strengthening the capabilities of Qatar Charity’s field offices.
            2.      Receiving carefully thought out project proposals.
            3.      Following up on projects with precision.
            4.      Controlling the specifications of implemented projects.
            5.      The ability to mobilize local resources.
   As for countries in which the Organization has no offices, focus was placed on social projects, with the exception
   of Western Europe and Canada, given the nature of the projects that Qatar Charity has been implementing in these
   countries, which mainly pertain to Islamic cultural centers, as well as countries with which there were previous
   dealings when these dealings did not result in implementation problems.




       [logo:]      Qatar Together…                    towards Issued in: February 2016
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                       (Annual Report for 2015)                                                      Qatar Charity

        Geographic Spread of Qatar Charity’s Work

   The list of countries that Qatar Charity worked with during 2015 included the following:

   Check the number of countries by adding 3 countries for a total of 73 countries.


             List of African             List of Arab        List of Asian countries        List of European
               countries                  countries                                          countries and
                                                                                            countries in the
                                                                                               Americas

    1.       Senegal               1.   Palestine (West     1.    Indonesia            1.    Albania

    2.       Mali                       Bank + Gaza Strip) 2.     Pakistan             2.    Kosovo

    3.       Niger                 2.   Yemen               3.    Bangladesh           3.    Bosnia

    4.       Burkina Faso          3.   Sudan               4.    India                4.    Turkey

    5.       Benin                 4.   Mauritania          5.    Sri Lanka            5.    Spain

    6.       Togo                  5.   Morocco             6.    Myanmar              6.    Italy

    7.       Ghana                 6.   Tunisia             7.    Kyrgyzstan           7.    France

    8.       Nigeria               7.   Jordan              8.    Iran                 8.    Germany

    9.       Chad                  8.   Lebanon                                        9.    Britain

    10. Kenya                      9.   Iraq                                           10. Belgium
                                   10. Somalia                                         11. Luxembourg
                                   11. Comoros                                         12. Switzerland
                                   12. Lebanon                                         13. Canada
                                                                                       14. Holland
               Moreover, Qatar Charity opened new horizons for spreading Islam by building Islamic centers in
                European countries (Italy, Spain, Switzerland, Germany, France, Canada, Norway, Poland, Ireland,
                Luxembourg, Sweden, Belgium, and Holland). Indeed, during 2015 it spent nearly QAR 21 million on
                these projects.




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                      (Annual Report for 2015)                                                    Qatar Charity

                                   The Field Offices’ Accomplishments during 2015


Albania Office

-   During 2015, a total of 56 projects were implemented in the field of (education and culture - relief - community
    housing - water and sanitation - economic empowerment - seasonal projects) for a sum of QAR 8,263,755, a 391%
    increase as compared to the projects implemented during 2014, with 18,024 beneficiaries from these projects and
    17,467 families benefiting from the seasonal projects.
-   During 2015, a total of QAR 6,000,000 was spent on social care, a 32% increase as compared to the sum spent in
    2014, with the number of sponsees totaling 3,200.
-   During 2015, the office collected new and used clothing and redistributed them to poor families and orphans. There
    were 10,000 beneficiaries from this project.
-   The Albanian Qatari Educational Center was the best education center in Albania.
-   The five female students of the Albanian Qatari School earned top national placement in Albania for the 2015 high
    school exam results.

Kosovo Office

-   During 2015, a total of 78 projects were implemented in the field of (education and culture - community housing -
    water and sanitation - economic empowerment - seasonal projects) for a sum of QAR 1,351,000, a 72% increase as
    compared to the projects implemented during 2014, with 6,642 beneficiaries from these projects and 11,340 families
    benefiting from the seasonal projects.
-   During 2015, a total of QAR 3,398,389 was spent on social care, an 8% increase as compared to the sum spent in
    2014, with the number of sponsees totaling 1,583.
-   During 2015, in cooperation with the Municipality of Mitrovica, the office dug 58 wells at the municipality’s schools
    and clinics to secure safe drinking water for students and patients who frequent the clinics. There were 2,500
    beneficiaries from this project.
-   The Qatar Training Center earned a rating of excellent on its administrative and professional evaluation from the
    Kosovo Accreditation Authority of the Council of Ministers, and obtained the International Computer License “as
    an accredited training and testing center” for the second year in a row. It also became a center accredited by the
    “Global Autodesk” Company. It is the only and first center in Kosovo, and it is considered the best training center
    in Kosovo and a strong competitor in the training and qualification market, despite the newness of its work, which
    began in 2013. It graduated over 750 students in 2015.




Bosnia Office

-   During 2015, a total of 78 projects were implemented in the field of (agriculture - relief - community housing - water
    and sanitation - seasonal projects) for a sum of QAR 870,626, a 4% increase as compared to the projects implemented
    during 2014.


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                     (Annual Report for 2015)                                                      Qatar Charity

-   During 2015, a total of QAR 5,734,744 was spent on social care, a 25% increase as compared to the sum spent in
    2014, with the number of sponsees totaling 2,338.
-   During 2015, in cooperation with the Ministry of Displaced Persons and Immigrants, the office implemented income-
    generating projects to enable the residents of eastern Bosnia to be stable and self-reliant. The cost of the project was
    QAR 365,619, and 300 families were beneficiaries of the project. In addition, in cooperation with the Nahla Women's
    Association, the office provided professional support to the mothers of orphaned children. The project cost QAR
    10,000.

Palestine Office - Gaza

-   During 2015, a total of 56 projects were implemented in the field of (education and culture - relief - community
    housing - health sector - agriculture and fisheries sector - water and sanitation - economic empowerment - seasonal
    projects) for a sum of QAR 57,015,380, a 137% increase as compared to the projects implemented during 2014, with
    9,338,569 beneficiaries from these projects.
-   During 2015, a total of QAR 17,381,136 was spent on social care, a 17% increase as compared to the sum spent in
    2014, with the number of sponsees totaling 7,343, an increase of 958 sponsees as compared to 2014.
-   The office managed the activities of the National Workshop for Civil Society Organizations related to the
    development of humanitarian work around the world. It was attended by the General Coordinator of OCHA in
    Palestine, as well as dozens of international and national institutions active in the Gaza Strip.
-   The office signed 5 agreements with the Islamic Development Bank to implement vital projects to reconstruct what
    was destroyed by the Israeli occupation in the various sectors in the Gaza Strip and [undertake] other projects.
Somalia Office

-   During 2015, a total of 741 projects were implemented in the field of (education and culture - health - water and
    sanitation - economic empowerment - seasonal projects) for a sum of QAR 10,955,065, a 19% increase as compared
    to the projects implemented during 2014, with 271,490 beneficiaries from these projects.
-   During 2015, a total of QAR 19,429,705 was spent on social care, a 32% increase as compared to the sum spent in
    2014, with the number of sponsees totaling 11,157.
-   The office implemented the early recovery project for the flood victims in Middle Shabelle in order to help local
    communities restart agricultural production work and strengthen public facilities that were damaged due to the
    environmental crises in the governorate in 2013-2014. The project cost QAR 3,647,500, and there were 92,776
    beneficiaries from this project.
-   The office implemented a partnership project with the International Medical Corps to support continued access to
    basic and maternity medical services in Middle Shabelle at a cost of QAR 593,500, and there were 81,250
    beneficiaries from this project.
-   The office implemented the urgent relief project for the benefit of Yemeni refugees in Somalia in order to ease the
    suffering of the families of Yemeni refugees and Somali returnees who were displaced by the wars ongoing in Yemen
    at a cost of QAR 365,000, and 600 families benefited from this project.
-   The office implemented the Qatar Charity campaign to help the displaced persons and the poor affected by famine
    and drought in Somalia, which is a humanitarian campaign aimed at providing aid to the affected persons at a cost
    of QAR 3,000,000, and there were 71,373 beneficiaries from this project.

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Sudan Office

-   During 2015, a total of 433 projects were implemented in the field of (education and culture - relief - community
    housing - health - water and sanitation - economic empowerment - seasonal projects) for a sum of QAR 14,778,697,
    with 137,163 beneficiaries from these projects.
-   During 2015, a total of QAR 12,143,006 was spent on social care, a 25% increase as compared to the sum spent in
    2014, with the number of sponsees totaling 3,973.
-   During 2015, the office built a water plant in the Saqadi area in partnership with the Qatar Red Crescent and the Al-
    Daawa Organization for a sum of QAR 2,876,300, benefiting 17 villages, and there were 20,000 beneficiaries from
    this project.
-   The office received the Pioneers Award for Volunteer Work for 2015 in Sudan by the Humanitarian Aid
    Commission, which is the government entity overseeing humanitarian work in Sudan.
-   The One Heart Program was filmed in Sudan and broadcast on the Qatari channel Al-Rayyan and the Sudanese
    channel Al-Shorouq.
-   Implementation of qualitative projects began in Sudan, such as the Rufaqa [Companions] Model Village, a water
    plant project, and the Darfur Water Program.

Indonesia Office

-   During 2015, a total of 974 projects were implemented in the field of (education and culture - relief - community
    housing - health - water and sanitation - economic empowerment - seasonal projects) for a sum of QAR 14,105,053,
    a 36% increase as compared to the value of projects implemented in 2014, with 137,163 beneficiaries from these
    projects.
-   During 2015, a total of QAR 5,631,959 was spent on social care, a 10% increase as compared to the sum spent in
    2014, with the number of sponsees totaling 2,581.




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Pakistan Office

-   During 2015, a total of 1,374 projects were implemented in the field of (education and culture - water and sanitation
    - seasonal projects) for a sum of QAR 8,615,120, a 55% increase as compared to the value of projects implemented
    in 2014, with 282,600 beneficiaries from these projects.
-   During 2015, a total of QAR 7,444,290 was spent on social care, an 18% increase as compared to the sum spent in
    2014, with the number of sponsees totaling 4,056.
-   In cooperation with the UNICEF, the office implemented well, collection basin, laundry and latrine projects as well
    as awareness campaigns for the poorest rural areas of southern Punjab at a cost of QAR 2,044,000, with the total
    number of beneficiaries from this project being 97,000, and in Banu at a cost of QAR 3,018,000, with the total
    number of beneficiaries from this project being 141,450.

Bangladesh Office

-   During 2015, a total of 4,936 projects were implemented in the field of (education and culture - water and sanitation
    - health - seasonal projects) for a sum of QAR 71,275,993, a 124% increase as compared to the value of projects
    implemented in 2014, with 990,030 beneficiaries from these projects.
-   During 2015, a total of QAR 3,848,074 was spent on social care, a 9% increase as compared to the sum spent in
    2014, with the number of sponsees totaling 2,259.
-   The office implemented a number of qualitative projects as part of the projects implemented in 2015. Indeed, it
    implemented the Qatari Hospital and Medical Center in the city of Bhairab and the city of Saidpur, the Haji Esmat
    School for Orphans in the city of Bhairab, the Barqao, Hoqlaqa and Abu Al-Hashem Islamic School[s] in the
    Munshiganj District, and the water desalination plant in the Satkhira District.
-   The Ministry of Preparedness and Relief in Bangladesh recommended that the Qatar Charity office in Bangladesh
    be considered an exemplary association.

Tunisia Office

-   During 2015, a total of 226 projects were implemented in the field of (water and sanitation - health - agriculture -
    seasonal projects) for a sum of QAR 15,363,140, with 29,405 beneficiaries from these projects.
-   During 2015, a total of QAR 925,835 was spent on social care, a 63% increase as compared to the sum spent in
    2014, with the number of sponsees totaling 440.
-   The office implemented a number of qualitative projects in partnership with the Qatar Friendship Fund and the Qatari
    Ministry of Foreign Affairs. Indeed, it implemented the second phase of the "Daam [Support]” program for the
    sustainability of work for the future, and the project to upgrade community housing in Jendouba.




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Djibouti Office

-   Despite the newness of the office, it began implementing 114 projects in 2015 in the field of (education - relief -
    health - water and sanitation - economic empowerment - seasonal projects) for a sum of QAR 3,632,293, with 36,000
    beneficiaries from these projects.
-   The office began implementing a qualitative project in partnership with the Kuwaiti Mercy International
    Organization. Indeed, it began implementing the “Doha Khair Village” construction project. The project consists of
    an integrated village to accommodate the homeless poor. The project includes the construction of 100 housing units,
    a clinic, a school, a mosque, a sewing workshop and a water network. The project began in October 2015 and is still
    under implementation. The total cost of the project is QAR 4,613,637, and work on it will end on 30 September
    2016.

Kenya Office

-   Despite the newness of the office, at the end of 2015 it began preparing for a number of qualitative projects. Indeed,
    it started a partnership project between the Qatar Charity office and the Endowment Fund to implement a number of
    joint projects in the field of water and sanitation in Kenya, particularly in the remote provinces, which suffer from
    the scarcity of water services. It also began implementation of the Kakuma Educational Camp project in partnership
    with the United Nations High Commissioner for Refugees (UNHCR), a project that aims to provide distinguished
    educational services for the benefit of refugees at all educational levels.
-   During 2015, a total of QAR 221,100 was spent on social care, with the number of sponsees totaling 847.
-   During 2015, a total of QAR 1,146,154 was spent on seasonal projects.

Comoros Office

-   During 2015, a total of 3 projects were implemented in the field of (education and culture - relief - seasonal projects)
    for a sum of QAR 316,657, with 1,360 beneficiaries from these projects.
-   During 2015, a total of QAR 48,782 was spent on social care, with the number of sponsees totaling 225.
-   The Qatar Charity office in the Comoros partnered with the Arab Committee for Investment and Development to
    build a primary school at a cost of QAR 254,436.
-   The office received a certificate of appreciation from the Ministry of Health in the Republic of the Union of the
    Comoros.




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Niger Office

-   During 2015, a total of 4,953 projects were implemented in the field of (education and culture - water and sanitation
    - health - community housing - seasonal projects) for a sum of QAR 18,709,181, a 55% increase as compared to the
    value of projects implemented in 2014, with 396,659 beneficiaries from these projects.

-   During 2015, a total of QAR 2,839,636 was spent on social care, a 75% increase as compared to the sum spent in
    2014, with the number of sponsees totaling 1,271.
-   In cooperation with the Food and Agriculture Organization of the United Nations, the office implemented a number
    of agricultural and fishery projects in Niger at a cost of QAR 761,215, with 15,800 families benefiting from the
    project. Moreover, in cooperation with the Qatar Red Crescent, the office began constructing a model farm for seed
    production to help supply enhanced seeds in a country wherein there are no good crops. The cost is QAR 2,394,170
    and the number of beneficiaries from the project will be 41,200.
-   The electronic disbursement has been approved with the local bank, whereby disbursements are made to
    beneficiaries via electronic bank transfers without contacting the bank or making a visit to execute the transfers.
-   At the recommendation of the Food and Agriculture Organization of the United Nations, the office’s agricultural
    engineer was trained at the expense of a Belgian university for 3 months in Belgium on the irrigation and vegetable
    cultivation that Qatar Charity engages in when it enters areas to improve their capabilities.
-   In Niger, the Qatar Charity office was ranked among the best partners of the Food and Agriculture Organization of
    the United Nations. Indeed, 3 cooperation agreements were signed during 2015 with the Organization. In addition,
    the number of agreements signed between Qatar Charity and the Food and Agriculture Organization totaled 23
    during the previous year, thus enabling the office of the Food and Agriculture Organization of the United Nations in
    Niger to offer the possibility of expanding this partnership to encompass other countries wherein both entities
    operate.

Yemen Office

-   Despite the circumstances that Yemen is experiencing and the office’s inability to function normally, during 2015,
    a total of QAR 29,340,701 was spent in the field of (education and culture - water and sanitation - health - economic
    empowerment - community housing - seasonal projects).
-   During 2015, a total of QAR 27,785,100 was spent on social care, an 11% increase as compared to the sum spent in
    2014, with the number of sponsees totaling 52,080.

Chad Office

-   As for the Chad office, it is one of the offices that were inaugurated at the end of 2015, and its first work was the
    inauguration of the regional educational center, whose foundation stone was laid by the Chief Executive Office of
    Qatar Charity in the presence of the Prime Minister of Chad and the Secretary General of ICESCO. Qatar Charity
    contributed QAR 1,825,000.




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Mali Office

-   During 2015, a total of 595 projects were implemented in the field of (education and culture - water and sanitation -
    health - economic empowerment - seasonal projects) for a sum of QAR 4,604,703, with 22,464 beneficiaries.
-   During 2015, a total of QAR 3,209,082 was spent on social care, a 21% increase as compared to the sum spent in
    2014, with the number of sponsees totaling 1,838.

Mauritania Office

-   During 2015, a total of 556 projects were implemented in the field of (education and culture - water and sanitation -
    health - community housing - economic empowerment - seasonal projects) for a sum of QAR 15,325,368, a 576%
    increase as compared to the value of projects implemented in 2014, with 50,285 beneficiaries from these projects.
-   During 2015, a total of QAR 2,955,437 was spent on social care, a 28% increase as compared to the sum spent in
    2014, with the number of sponsees totaling 2,015.


Burkina Faso Office

-   During 2015, a total of 4,953 projects were implemented in the field of (education and culture - water and sanitation
    - health - economic empowerment - seasonal projects) for a sum of QAR 18,709,181, with 55,800 beneficiaries from
    these projects, and 71,500 families benefiting from the seasonal projects.
-   During 2015, a total of QAR 2,178,894 was spent on social care, a 183% increase as compared to the sum spent in
    2014, with the number of sponsees totaling 1,292.
-   In cooperation with Swiss Contac [phonetic], the office accomplished a number of local economic development
    projects to help the poorest groups obtain a source of income. The number of beneficiaries from this project was
    656.




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   Partnerships and Agreements
    In light of Qatar Charity’s excellent reputation worldwide in the development and humanitarian field, many local
    and international organizations and agencies, local and international organizations, agencies, ministries, companies
    and individuals placed their trust in it by tasking it with completing many projects around the world. This is due to
    Qatar Charity’s experience and expertise through its offices around the world as well as its executive partners.
    During 2015, Qatar Charity exerted significant efforts in the field of partnership and cooperation, be that by opening
    up to new partnerships or by continuing to cooperate with previous partners. The most important partnerships that
    the Organization entered into during 2015 included:
          Signing a cooperation agreement with the United Nations World Food Program to support programs to fight
           hunger, as fighting hunger is one of the most important sustainable development goals adopted by the United
           Nations during 2015.
          Cooperating with the Food and Agriculture Organization of the United Nations to implement food security
           projects in Niger. Indeed, Qatar Charity was selected as an exclusive executive partner of the Food and
           Agriculture Organization in Niger in the field of food security in view of the competence that Qatar Charity
           developed in Niger in implementation of this type of project.
          Cooperating with the Qatar Red Crescent Society and the Islamic Dawa Organization to finance a project to
           provide drinking water to a rural community of eighteen villages in the Saqadi area in River Nile State in
           Sudan. The project costs about three million Qatari riyals, the three organizations participated in funding it
           equally, and Qatar Charity was tasked with implementing it through its office in Khartoum.
          Cooperation between Qatar Charity and the Qatar Red Crescent Society to implement a project with
           enhanced seeds to support food security efforts in Niger. The project is expected to contribute to supplying
           the local market with about 15% of some crops from enhanced seeds. The project costs about seven hundred
           thousand dollars, and both parties are covering the cost equally.
          Cooperating with the International Medical Corps in a project funded by the European Union to provide
           primary and reproductive health services in the Jawhara and Shabelle regions and the south central Somalia
           region. Qatar Charity’s contribution to this project totals one hundred fifty thousand euros.
          Joining the Start Network, which encompasses 23 of the most important member international organizations
           working in the humanitarian field. Through this membership in the Start Network, Qatar Charity will become
           able to access funding from a set of government donor entities such as the DFID and others.
          For the fourth year in a row, the Qatar Charity office in Pakistan will continue cooperating with the United
           Nations Fund to provide water and sanitation services in different regions of Pakistan. The importance of
           this project lies in the ability to promote the culture of water use in some areas, and enhance Pakistanis'
           attitude towards sanitation as a protection from many diseases.
          To strengthen joint cooperation between Qatari non-governmental organizations to increase the efficiency
           and efficacy of development and humanitarian aid in the State of Qatar, Qatar Charity was keen to cooperate
           with the Teach A Child Organization’s initiative to support education efforts in the Kakuma camp in
           northern Kenya by contributing a sum of one million five hundred thousand US dollars. The education

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           initiative in the Kakuma camp is a qualitative and value-added model to incorporate education service in the
           refugee environment.
          Qatar Charity was careful to build long-term alliances, recognizing that dealing with development issues
           and humanitarian work requires a comprehensive vision wherein the roles of various development and
           humanitarian actors are integrated, and wherein all resources utilized efficiently. For that purpose, during
           2015, Qatar Charity signed a set of strategic agreements to strengthen these alliances. These alliances
           included ones with the Islamic Dawa Organization (Sudan), the Qatar Red Crescent Society (Qatar), the
           International Islamic Relief Organization (Kuwait), Reach Out to Asia/ROTA (Qatar), and Silatech (Qatar).
           These strategic agreements resulted in specific partnership and cooperation projects, including, for example,
           ones with the Red Crescent Society of Niger and Sudan, with the Islamic Dawa Organization in a group of
           African countries, with Silatech in the field of employment in Syria, and with the Reach Out To Asia
           Foundation in the field of education in conflict areas such as Palestine.
          Given Qatar Charity’s leadership role in implementing the State of Qatar’s program of development in the
           State of South Darfur, it was keen to act as a strategic partner to the State in the development plan preparation
           workshop organized during November of 2015 in the State’s capital of Nyala. Indeed, this opportunity was
           taken to sign two technical cooperation agreements with the Water and Environmental Sanitation Program
           and the Investment Promotion Commission. It is expected that these two agreements will be activated
           through cooperation projects in the fields of water and economic empowerment during the second phase of
           the State of Qatar’s development program in Darfur, which will be launched during the first months of 2016
           for a total sum of about seventy four million dollars, with 25% being allocated for implementation through
           Qatar Charity.


   Regional and International Presence
    During the past few years, Qatar Charity has been awarded a distinguished position as an international non-
    governmental humanitarian and development organization. This position comes as a result of the regional and
    international role it plays in the development and humanitarian fields, and as a result of the regional and international
    initiatives wherein it assumes a leading position. Within this context, during 2015, Qatar Charity has engaged in a
    set of initiatives, including but not limited to the following:
          Effectively participating in preparing for the World Humanitarian Summit to be held in Istanbul during the
           month of May 2016. This is the first humanitarian summit of its kind organized by the United Nations since
           its founding in 1945. Indeed, during 2015, Qatar Charity contributed to supporting the efforts to prepare for
           the Summit by supporting the organization of regional consultations in the Middle East and North Africa
           that were organized at ICESCO’s headquarters in Rabat during the month of January. Qatar Charity also
           supported the consultation workshop organized in Istanbul for the same purpose.
          Responding to the humanitarian crisis in Yemen: Qatar Charity organized a regional workshop to strengthen
           the communication between the Higher Relief Committee of Yemen and its humanitarian partners in the
           Gulf Cooperation Council region. This workshop was organized during the month of March of 2015 and
           attended by over 15 humanitarian organizations.

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          During May of 2015, Qatar Charity hosted the Third International Conference on Humanitarian Work. Qatar
           Charity is considered a founding member of this annual conference, alongside the Islamic Cooperation
           Organization, the International Committee of the Red Cross, the International Islamic Relief Organization,
           the International Islamic Charitable Organization, and the Foundation for Human Rights and Humanitarian
           Relief. The conference was attended by about 120 people representing over sixty organizations.
          During October 2015, Qatar Charity organized a conference on the Syrian crisis. The conference focused on
           efforts to prepare for the winter season, and drew attention to the needs that donors do not pay special
           attention to, comprised mainly of education and livelihoods, particularly in light of the long duration of the
           crisis. It also focused on ways to enhance coordination among humanitarian workers. The conference was
           attended by more than 100 participants representing fifty governmental and non-governmental organizations
           and organizations. At the end of the conference, a set of humanitarian initiatives were announced for the
           benefit of the Syrian people, including a joint initiative between Qatar Charity and the Islamic Development
           Bank for a sum of seven million dollars in the field of education, a joint initiative between Qatar Charity
           and the Islamic Dawa Organization for a sum of three million dollars, and a third initiative between Qatar
           Charity and Silatech to support livelihoods for the benefit of Syrian displaced persons and refugees.
          In addition to Qatar Charity’s initiatives, Qatar Charity supported a set of initiatives and events organized
           by other partner entities in order to support the humanitarian efforts in Syria. The events to which Qatar
           Charity contributed included its support of the annual conference of the Federation of Development and
           Humanitarian Organizations in Lebanon, and the annual conference of the Watan Foundation.


   Development and Humanitarian Cooperation Projects
    In the field of development and humanitarian cooperation projects, Qatar Charity provided the necessary technical
    support to its field offices and executive partners to manage these projects with efficiency and quality. The technical
    support that the Organization provides encompasses various fields related to development and humanitarian
    programs and products, such as planning, partnership and cooperation, resource mobilization, and project
    management in its various stages, such as needs assessment, project design, follow-up and evaluation. Within this
    context, we list some of the technical support efforts provided during 2015:
          Supporting the efforts of Qatar Charity’s office in Tunisia to implement the “Daam [Support]” program,
           which the State of Qatar is funding at a sum of fifteen million US dollars. The program encompasses the
           following projects: Building five rural schools, building ten rural health centers, building roads to break the
           isolation of rural areas, promoting community housing, providing economic empowerment and supporting
           agricultural cooperatives.
          Supporting Qatar Charity’s office in Sudan to implement a water project in the Saqadi area in the River Nile
           State within the framework of a tripartite partnership that includes Qatar Charity, the Qatar Red Crescent,
           and the Islamic Dawa Organization. The project pumps Nile water to a two thousand cubic meter treatment
           plant two kilometers away from the river so potable water can then be distributed to eighteen villages having
           about twenty thousand inhabitants.


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                 (Annual Report for 2015)                                                      Qatar Charity

        Cooperating with Qatar Charity’s office in Sudan in order to launch the Rufaqa [Companions] initiative in
         an integrated village to house and serve one thousand two hundred orphaned children in Sudan, for a total
         cost of thirty two million Qatari riyals, in cooperation with the Nile River State. The city of Al-Damir was
         chosen as the site for construction of this village.
        Contributing to strengthening the capabilities of Syrian organizations to ensure that they respect
         humanitarian principles and standards during their field work. This is in order to ensure that humanitarian
         services are provided in accordance with the required quality standards and in a manner that helps provide
         services in a safe environment. One of the most important initiatives that undertaken in this regard was the
         organization of a training course during the month of June of 2015, in cooperation with Office for the
         Coordination of Humanitarian Affairs of the United Nations, which was attended by about thirty
         humanitarian workers from Syrian humanitarian organizations.
        Preparing the study on the Nomadic Communities Development Program in the Darfur region in cooperation
         with Qatari organizations. The total cost of the program is fifty million US dollars, equally distributed among
         the five states of Darfur.
        Cooperating with Qatar Charity’s office in Sudan to implement a project to provide potable water in the
         water project in the States of South and Central Darfur with funding from the Qatar Development Fund for
         a total cost of three million dollars. The project was launched during 2015.
        Cooperating with Qatar Charity’s office in Palestine to implement a set of projects that Qatar Charity was
         tasked with implementing by the Executive Committee of the GCC Gaza Reconstruction Program, which is
         being managed by the Islamic Development Fund.




     [logo:]       Qatar Together…                     towards Issued in: February 2016
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                  (Annual Report for 2015)                                                       Qatar Charity




           Social Care and Sponsorships
      For the second year in a row, Qatar Charity was honored in the Bahraini capital, Manama, for winning the Al
      Sanabil Award for Social Responsibility in Orphan Care Institutions in the Gulf Cooperation Council for 2015.
      It won the award in the category of community initiatives in the field of orphan care at the Gulf level, in
      appreciation of the "Rufaqa [Companions] International Initiative to Help Orphans" adopted by Qatar Charity.
           Orphan sponsorship helps improve the living conditions of sponsored children by enabling them to enjoy
           their basic rights to food, clothing, education, medical treatment, and adequate shelter. At the end of 2015,
           the number of sponsees totaled 91,846 in 39 countries around the world, a 20.7% increase as compared to
           2014 when the number of sponsees was 76.093. During 2015, Qatar Charity spent QAR 181,073,618 on
           the orphan sponsorship, an 18.42% increase as compared to 2014 when the amount was QAR 152,909,640.
           Below are statistics comparing four years by number of sponsorship and country:

                 2015              2014               2013              2012              2011              Years
                                                                                                          Number of
                 91846             76093             62416             57199              40333
                                                                                                         sponsorships
                                                                                                          Number of
                  39                 34                34                34                 32
                                                                                                          countries
             181,073,618        152,909,640       127,582,366       109,295,196        86,269,869          Payment


      Local and International Partners:
       In order to optimize its efforts and ensure coordination and integration with the rest of the other actors, Qatar
       Charity is keen to cooperate and partner with various stakeholders, be that in the development field or in the
       humanitarian field at the local and international levels, for this purpose. Qatar Charity has been keen to
       cooperate with international bodies and enhance confidence in the Organization’s image. The Organization
       also cooperates in managing its programs and projects and providing its services with a wide range of about
       500 partners. The list of the Organization’s partners includes the United Nation’s most important and
       specialized organizations. In addition, Qatar Charity cooperates with local civil society organizations,
       international non-governmental organizations, banks and development agencies, as well as the relevant
       ministries and technical departments in the countries in which the Organization operates. During 2015, Qatar
       Charity attached special importance to signing strategic cooperation agreements with partners from within
       Qatar such as the Education Above All Foundation (EAA), Educate A Child (EAC), and the Qatar Red
       Crescent Society. It was also keen to strengthen relations and open channels of communication with many
       local and international partners, the most important of which were with:




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                  (Annual Report for 2015)                                               Qatar Charity



                                                  Local Partners

1.   Ministry of Labor and Social Affairs                   2. Qatar Cancer Society
3.   Ministry of Interior                                   4. Hamad Medical Corporation
5.   Ministry of Endowments and Islamic Affairs             6. Vodafone Telecom Company
7.   Ministry of Environment                                8. Ooredoo Telecom Company
9.   Ministry of Communications                             10. Qatar Foundation for Combating Human
                                                                   Trafficking
11. Olympic Sports Committee                                12. Qatar Foundation for Shelter
13. Social Development Center                               14. Childhood Cultural Center
15. Qatar Foundation for Education, Science and             16. Shafallah Center
     Community Development
17. Qatar University                                        18. Owain Center
19. Qatar Society For Rehabilitation of Special Needs       20. Barwa Bank
21. Qatar Career Fair                                       22. Al Emadi Enterprises


                                             International Partners

       1. United Nations High Commissioner for Refugees (UNHCR)
       2. Food and Agriculture Organization (FAO)
       3. United Nations Children's Fund (UNICEF)
       4. World Food Program (WFP)
       5. United Nations Relief and Works Agency for Palestine Refugees (UNRWA)
       6. United Nations Development Program (UNDP)
       7. United Nations Office for the Coordination of Humanitarian Affairs (UNOCHA)
       8. Islamic Development Bank (IDB)
       9. Islamic World Educational, Scientific and Cultural Organization (ICESCO)
       10. The Global Bill Gates Foundation
       11. Muslim Aid Australia Organization




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                      (Annual Report for 2015)                                                   Qatar Charity




    Projects and Programs Abroad:
    During 2015, the Organization provided aid totaling about QAR 947,938,900. Its projects, programs and aid
    encompassed 73 countries, and covered various development and humanitarian sectors in education, health, water
    and sanitation, social care, cultural development, economic empowerment, and community housing. 76 service
    complexes in 26 countries for a total sum of QAR 34,500,000. The most important projects, programs and initiatives
    that Qatar Charity completed abroad in 2015 included:


                                             Number of
                    Field                    Countries             Number of Projects             Amount
    Economic empowerment                26                    4,739                        43,046,700
    Culture and education               44                    1,717                        372,231,800
    Community housing                   20                    189                          47,454,500
    Health                              18                    88                           77,604,600
    Water and sanitation                27                    5,922                        100,062,600
    Multi-service centers               23                    126                          251,446,900
    Social assistance abroad            20                    71                           56,091,800
    Total                               73                    12,852                       947,938,900


   Relief Projects and Programs:
    In the relief field, 144 relief projects were implemented in 2015 for a sum of QAR 176 million, benefiting about
    2.43 million people in 14 countries, and covering the fields of shelter, non-food items, food items, health, and
    education.

                                  Number of        Beneficiary              Number of
         Total Amount                                                                                    Years
                                   Projects         Countries              Beneficiaries
        QAR 176 million              144                 14                  2.430.473                   2015
        QAR 104 million              133                 13                  2,245,650                   2014
             69 %                    8%                  8%                     8%              Percentage Change

       In-Kind Relief

         ▪   During 2015, in-kind donations were sent to Syria, consisting of clothing, blankets and heaters valued at
             about QAR 6,416,320 in cooperation with the Qatar Red Crescent.




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                   (Annual Report for 2015)                                                     Qatar Charity

   Marketing Campaigns, Initiatives and Competitions
    During 2015, Qatar Charity conducted many quality marketing campaigns, events and initiatives with the aim to
    support Qatar Charity’s activities, programs and projects and increase revenues, the most important of which were:
        1.   One Heart - 2 Program: It is a television program for fundraising by teams, groups, and personalities from
             different fields and different nationalities. Its goal was to support the people of Sudan, draw attention to
             the magnitude of the suffering and the volume of response, hold contests among teams, enable interaction
             with the audience towards righteousness, and to present new ideas for charitable work. The program
             achieved revenue of QAR 3,652,390.
        2.   Rufaqa [Companions] Initiative: It is an initiative to care for and sponsor children and orphans around the
             world. Indeed, 46,500 children were sponsored around the word, with 22,385 orphans being sponsored in
             2015 for a sum of QAR 18,206,122.
        3.   Teach a Child Initiative: It is a campaign in partnership with the Education Above All Foundation to
             support education and students in primary school, with the aim of providing support for children in the
             primary stage of education, providing appropriate educational facilities, and strengthening partnership
             with major institutions. The initiative achieved revenues of QAR 307,163.
        4.   Al-Aqsa Endowment: In order to establish endowment real estate and investment projects whose annual
             proceeds are directed to providing basic services, strengthening the steadfastness of the residents of
             Jerusalem on their land with the aim of confronting the serious challenges facing the blessed Al-Aqsa
             Mosque, stopping continuous attempts to obliterate the Islamic identity of Jerusalem, confronting the great
             difficulties that make the lives of its residents almost impossible, and attempting to stop the forced
             departure from it. Sums were raised for this endowment during 2015 in the amount of: QAR 3,631,449.
        5.   Sheikh Fahd Al-Kandari’s service program “Open Your Heart to the Quran:” It is a service whereby one
             subscribes to messages of thoughts and interpretations of Quranic verses aimed at two things, providing
             the subscriber with spiritual nourishment and contributing to charitable work. The program achieved
             revenues of QAR 130,475.
        6.   Syria Campaign - Before He Freezes: The campaign achieved revenues of QAR 123,810,953 while the
             revenues from the 2014 campaigns - the Syria “A Winter As Severe As Their Suffering” - achieved
             revenues of QAR 39,994,159.
        7.   Ramadan 1436 A.H. [2015 A.D.] - “Ramadan Smile” Campaign: The campaign achieved revenues of
             QAR 326,888,282. The most important strength of this campaign, which are considered a precedent for
             Qatar Charity, is that it was implemented and produced with Qatar Charity’s own efforts, relying on its
             staff. The revenues in 2014 (Ramadan 1435 A.H.) - “Light of Giving” were QAR 274,964,393,
        8.   The sacrificial animal campaign of 1436 A.H. [2015 A.D.] - “Your Sacrificial Animals are Their Eid” -
             The campaign achieved revenues of QAR 16,287,080, and the proceeds from the sacrificial animals totaled
             (12,145,629), achieving 88.44% of the target. In contrast, the revenues from the sacrificial animal
             campaign of 1435 A.H. [2014 A.D.] totaled QAR 15,403,839, and the proceeds from the sacrificial animals
             were (11,726,922), achieving 87.29% of the target.
        9.   The revenues of the “Yemen, we are with you” campaign totaled: QAR 32,791,154.

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                   (Annual Report for 2015)                                                     Qatar Charity


        10. The revenues from the “Debtors” campaign totaled QAR 3,352,100.
        11. The revenues from the “Nepal Relief” campaign totaled QAR 2,414,336.

   The Islamic centers that Qatar Charity has adopted in European countries and Canada
    The general objective of Islamic centers is to be a prominent landmark worthy of Islam and Muslims, and a
    destination for them to consolidate their knowledge of Islam and of its history and civilization, and to communicate
    this to non-Muslims. These centers are often integrated multi-service units that provide a comfortable and
    appropriate environment for Muslims to learn and practice their faith In an atmosphere of love and brotherhood,
    and to introduce non-Muslims to the values and civilization of Islam.

    The centers whose implementation began during 2015:
    The year 2015 was dedicated to reviewing and evaluating the centers that currently exist, and to arrange for work
    on 2 new centers for a sum of QAR 101,880,000. Indeed, 62,000 Muslims benefited directly therefrom, along with
    200,000 people living in the neighboring areas. In addition, during 2015, a number of Islamic centers were
    inaugurated.

                   Statistics about the Islamic centers that Qatar Charity implemented around the world

                                        Number of                           Inaugurated during          Under
    No.            Country                                Inaugurated
                                         Centers                                  2016              Implementation
      01 Italy                                47               04                    13                     30
      02 France                               22               05                    02                     15
      03 Spain                                11               04                    02                     05
      04 Holland                              02               02
      05 Germany                              06               04                                           02
      06 Belgium                              03                                                            03
      07 United Kingdom                       11               01                                           10
      08 Ireland                              02               01                                           01
      09 Luxembourg                           01               01
      10 Denmark                              02               01                                           01
      11 Switzerland                          05               02                                           03
      12 Hungary                              02               01                                           01
      13 Ukraine                              06               04                                           02
      14 Poland                               06               04                    01                     01
      15 Sweden                               02                                                            02
      16 Norway                               03               03
      17 Canada                               08               04                    02                     02
      18 Australia                            01                                                            01
       Total centers around the             140                41                    20                     79

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                   (Annual Report for 2015)                                                    Qatar Charity


                 world


   “Taqat [Energies]” Remote Employment Project

    It is a leading project that Qatar Charity undertakes in cooperation with the Islamic Development Bank to reduce
    the levels of unemployment in Palestine by providing employment opportunities in Gulf countries without the need
    for the employees to come and work in these countries. Indeed, they can work and perform the job duties for
    companies and institutions without leaving their homeland (remote employment). Communication between both
    parties occurs online, where they exchange information and communicate with voice and picture. The project is
    very similar to work from home but it differs in that it not only provides a work place and environment but the
    employees are supervised by providing workstations equipped with electricity, internet access and office furniture,
    where virtual employees of different specializations gather to complete their daily job tasks for the various
    companies and institutions. Employees work in all specialties that can be performed remotely, such as translation,
    engineering design, quantity calculations, engineering drafting, programming - informatics, and graphic design.
    The project is able to overcome the challenges of immigration, the difficulty of obtaining work visas, and the
    dispersal of families, and keeps these young people in their homeland of Palestine. In addition, employer countries
    and companies benefit from obtaining expertise at affordable salaries, reducing the burdens of the immigration of
    immigrants to them, and affording flexibility with hiring and layoffs.
    The project provides these young workers the services of:
        -   Training to raise their standards in line with the foreign labor market.
        -   An equipped workplace and administrative supervision for the benefit of the companies employing them.
        -   Marketing for them to offer work opportunities in the countries wherein they will be employed.
        -   The website and knowledge portal that grant them a means of working with their companies, learning about
            the project, and learning about the job candidates.




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                  (Annual Report for 2015)                                                    Qatar Charity




                                         Ambition and Challenges


   1.     Strengthen the Organization’s specialized capabilities to improve the added value of the services provided
          in the various fields of the Organization’s work.

   2.     Improve the executive capabilities of field offices and executive partners.

   3.     Increase the Organization’s geographic spread internally and abroad by opening new branches and offices
          and searching for qualified executive partners.

   4.     Strengthen the image of Qatar Charity by highlighting it as an international development and humanitarian
          organization that derives its identity from the tolerant Islamic values and from recognized humanitarian
          principles.

   5.     Reduction of the Organization’s resources by 10% as compared to what was expected as of 31 December
          2015.

   6.     Ration use of the Organization’s resources, and develop the oversight mechanisms necessary for that.

   7.     Strengthen the cultural, social and religious values in the local community and highlight Qatar Charity’s
          leadership role.

   8.     Develop relations with current donors, access new institutional financing sources, and increase this segment
          of the revenue components by 10% as compared to 2015.

   9.     Strengthen the Organization’s international presence through effective participation in the most important
          regional and international development and humanitarian initiatives.

   10. Complete the Organization’s institution building by finishing the organizational structures, as well as
          prepare, develop and complete the various financial and administrative systems.

   11. Use the best global applications related to financial, administrative and analytical systems and develop the
          Organization's ability to make maximum use of information technology to automate various operational
          programs.



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                 (Annual Report for 2015)                                                 Qatar Charity


   12. Strengthen efforts to invest in the human element in terms of attracting the best competencies, especially
         Qataris, and focus on building the capacity of employees and improving the work environment.




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‫‪[ 2015‬‬           ‫]‬                                                              ‫قـطــر الـخـيــريـة‬




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[ 2015           ]                                                              ‫قـطــر الـخـيــريـة‬




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‫‪[ 2015‬‬           ‫]‬                                                              ‫قـطــر الـخـيــريـة‬




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‫‪[ 2015‬‬           ‫]‬                                                              ‫قـطــر الـخـيــريـة‬




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 ‫‪[ 2015‬‬          ‫]‬                                                                        ‫قـطــر الـخـيــريـة‬

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‫‪[ 2015‬‬           ‫]‬                                                                         ‫قـطــر الـخـيــريـة‬

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[ 2015           ]                                                                           ‫قـطــر الـخـيــريـة‬


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[ 2015           ]                                                                  ‫قـطــر الـخـيــريـة‬




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‫‪[ 2015‬‬           ‫]‬                                                              ‫قـطــر الـخـيــريـة‬

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                          ‫معاً ‪ . .‬نحو بناء مؤسسي متميز‬   ‫إصدار‪ :‬فبراير ‪2016‬م‬    ‫‪Page 9 of 46‬‬
‫‪Case 1:21-cv-05716-AMD-VMS Document 58-26 Filed 03/18/22 Page 59 of 95 PageID #: 912‬‬

‫‪[ 2015‬‬           ‫]‬                                                              ‫قـطــر الـخـيــريـة‬


                                                                                                ‫‪‬‬



                                                                                      ‫‪.1‬‬


                                                                                      ‫‪.2‬‬


                                                                                      ‫‪.3‬‬


                                                                                      ‫‪.4‬‬


                                                                                      ‫‪.5‬‬


                                                                                      ‫‪.6‬‬


                                                                                      ‫‪.7‬‬


                                                                                      ‫‪.8‬‬
                                                                                      ‫‪.9‬‬
                                                                                     ‫‪.10‬‬




                          ‫معاً ‪ . .‬نحو بناء مؤسسي متميز‬   ‫إصدار‪ :‬فبراير ‪2016‬م‬   ‫‪Page 10 of 46‬‬
‫‪Case 1:21-cv-05716-AMD-VMS Document 58-26 Filed 03/18/22 Page 60 of 95 PageID #: 913‬‬

‫‪[ 2015‬‬                 ‫]‬                                                             ‫قـطــر الـخـيــريـة‬


                           ‫التقرير اإلداري المختصر‬
                                                      ‫‪ ‬حصاد قطر الخيرية لعام ‪2015‬‬
                                                                                                ‫‪‬‬

         ‫‪2015‬‬                                                                              ‫‪.1‬‬




                                           ‫‪2015‬‬                                            ‫‪.2‬‬




                                                                                           ‫‪.3‬‬
                ‫‪2015‬‬




                                                                                           ‫‪.4‬‬




                                                                                           ‫‪.5‬‬




                           ‫‪2015‬‬                                                            ‫‪.6‬‬



                                                                                           ‫‪.7‬‬




                           ‫معاً ‪ . .‬نحو بناء مؤسسي متميز‬       ‫إصدار‪ :‬فبراير ‪2016‬م‬   ‫‪Page 11 of 46‬‬
‫‪Case 1:21-cv-05716-AMD-VMS Document 58-26 Filed 03/18/22 Page 61 of 95 PageID #: 914‬‬

 ‫‪[ 2015‬‬                      ‫]‬                                                                                        ‫قـطــر الـخـيــريـة‬

                                                                                                                                  ‫‪‬‬

     ‫‪2014‬‬                         ‫‪18‬‬                        ‫‪2015‬‬                                                             ‫‪.1‬‬
                                                                                              ‫‪2015‬‬
                                                                                                             ‫‪2014‬‬
            ‫‪2014‬‬                        ‫‪10‬‬                          ‫‪2015‬‬                                                     ‫‪.2‬‬
                         ‫‪921‬‬                                                                 ‫‪1.014‬‬         ‫‪2015‬‬
                                                                                                                     ‫‪2014‬‬
                 ‫‪2014‬‬                         ‫‪9‬‬                                                                              ‫‪.3‬‬
                         ‫‪2014‬‬                               ‫‪800‬‬                                      ‫‪871‬‬     ‫‪2015‬‬
     ‫‪0.10‬‬                         ‫‪4.5‬‬         ‫‪2015‬‬                                                                           ‫‪.4‬‬
                             ‫‪2014‬‬                            ‫‪7.96‬‬             ‫‪2015‬‬                           ‫‪2014‬‬


‫‪959 301 136‬‬                                         ‫‪2014‬‬              ‫‪16‬‬                                                     ‫‪.5‬‬
                                                     ‫‪2014‬‬                      ‫‪824 365 136‬‬
    ‫‪57 172 934‬‬           ‫‪2015‬‬                         ‫‪2014‬‬               ‫‪11‬‬                                                  ‫‪.6‬‬
          ‫‪7.3‬‬                                                ‫‪2014‬‬                     ‫‪55 055 953‬‬
          ‫‪2014‬‬               ‫‪9‬‬                                                                                       ‫‪2014‬‬
                                             ‫‪39‬‬                 ‫‪91,846‬‬         ‫‪2015‬‬                                          ‫‪.7‬‬
            ‫‪2015‬‬                                                                                 ‫‪2014‬‬                  ‫‪21‬‬
                                                                                                           ‫‪181,073,618‬‬
    ‫‪45‬‬            ‫‪2015‬‬                                                                                                       ‫‪.8‬‬
                                        ‫‪10,605,772‬‬           ‫‪2015‬‬                                            ‫‪2014‬‬
    ‫‪176‬‬                                           ‫‪144‬‬         ‫‪2015‬‬                                                           ‫‪.9‬‬
                ‫‪2014‬‬         ‫‪69‬‬                      ‫‪2014‬‬                              ‫‪104‬‬
                                                                                              ‫‪14‬‬             ‫‪2 430 473‬‬
                       ‫‪670‬‬                                    ‫‪23 280 349‬‬                                                    ‫‪.10‬‬
                                                                                          ‫‪40.1‬‬




                                             ‫معاً ‪ . .‬نحو بناء مؤسسي متميز‬                     ‫إصدار‪ :‬فبراير ‪2016‬م‬    ‫‪Page 12 of 46‬‬
‫‪Case 1:21-cv-05716-AMD-VMS Document 58-26 Filed 03/18/22 Page 62 of 95 PageID #: 915‬‬

‫‪[ 2015‬‬           ‫]‬                                                                                   ‫قـطــر الـخـيــريـة‬




                                                                                                                ‫‪‬‬
                                                                                                           ‫‪.1‬‬


‫‪32‬‬          ‫‪42‬‬                                                ‫‪2015‬‬                  ‫‪80‬‬
                                                                               ‫‪6‬‬
‫‪2015‬‬                                                                                                       ‫‪.2‬‬
                                                        ‫‪220‬‬


‫‪2014‬‬                                                                                                       ‫‪.3‬‬
                                                                                                     ‫‪44‬‬



                                                                                                                ‫‪‬‬

                                                                                                           ‫‪.1‬‬
           ‫‪22‬‬
                         ‫‪6‬‬                                                   ‫‪74‬‬
                                                                                                 ‫‪1,362‬‬
                     ‫‪8‬‬                                                                       ‫‪3‬‬             ‫‪.2‬‬


                         ‫‪74‬‬         ‫‪2015‬‬                                                                   ‫‪.3‬‬


          ‫‪619‬‬            ‫‪9‬‬                                      ‫‪672‬‬         ‫‪2015‬‬
                                                                                                    ‫‪2014‬‬
                                                                     ‫‪2015‬‬                                  ‫‪.4‬‬
                                                                                                    ‫‪21,3‬‬


                                                                ‫‪50‬‬                 ‫‪2015‬‬                    ‫‪.5‬‬


                                                                      ‫‪IHH‬‬


                              ‫معاً ‪ . .‬نحو بناء مؤسسي متميز‬                   ‫إصدار‪ :‬فبراير ‪2016‬م‬    ‫‪Page 13 of 46‬‬
‫‪Case 1:21-cv-05716-AMD-VMS Document 58-26 Filed 03/18/22 Page 63 of 95 PageID #: 916‬‬

‫‪[ 2015‬‬             ‫]‬                                                                          ‫قـطــر الـخـيــريـة‬

‫‪IMC‬‬


                                                                                                    ‫‪.6‬‬




                                                                                   ‫تطور مستمر‬
                                                                                                         ‫‪-1‬‬




                                                                                    ‫‪2015‬‬
                                                                                                    ‫‪‬‬
                                                                  ‫‪220‬‬




                                                                                                    ‫‪‬‬
‫‪742‬‬
                                ‫‪2014‬‬                   ‫‪8‬‬


                       ‫تقرير عن وضع الموظفين الحالي‬

             ‫‪260‬‬                             ‫‪210‬‬
                                                                             ‫‪193‬‬


             ‫‪482‬‬                             ‫‪475‬‬
                                                                             ‫‪395‬‬



            ‫‪2015‬‬                            ‫‪2014‬‬                             ‫‪2013‬‬

                                  ‫المقر الرئيس‬     ‫مكاتب خارجية‬




                          ‫معاً ‪ . .‬نحو بناء مؤسسي متميز‬                 ‫إصدار‪ :‬فبراير ‪2016‬م‬   ‫‪Page 14 of 46‬‬
‫‪Case 1:21-cv-05716-AMD-VMS Document 58-26 Filed 03/18/22 Page 64 of 95 PageID #: 917‬‬

‫‪[ 2015‬‬           ‫]‬                                                               ‫قـطــر الـخـيــريـة‬

                                                                                       ‫‪‬‬


                                             ‫‪2015‬‬         ‫‪44‬‬
                                                                                       ‫‪‬‬
                                         ‫‪2015‬‬
                                                                                       ‫‪‬‬
                                                                            ‫‪2016‬‬
                                                                                            ‫‪-2‬‬

                                                          ‫‪2015‬‬


                                                                                     ‫‪.1‬‬




                                                                                     ‫‪.2‬‬
                                                                                     ‫‪.3‬‬


                                                                                     ‫‪.4‬‬
                                    ‫‪32‬‬                    ‫‪42‬‬




                                                                             ‫‪1‬‬
                                                                             ‫‪2‬‬
                                                                             ‫‪3‬‬
                                                                             ‫‪4‬‬
                                                                             ‫‪5‬‬
                                                                             ‫‪6‬‬
                                                                             ‫‪7‬‬
                                                                             ‫‪8‬‬
                                  ‫‪42‬‬

                          ‫معاً ‪ . .‬نحو بناء مؤسسي متميز‬    ‫إصدار‪ :‬فبراير ‪2016‬م‬   ‫‪Page 15 of 46‬‬
‫‪Case 1:21-cv-05716-AMD-VMS Document 58-26 Filed 03/18/22 Page 65 of 95 PageID #: 918‬‬

‫‪[ 2015‬‬               ‫]‬                                                                                       ‫قـطــر الـخـيــريـة‬



                         ‫اللوائح والسياسات وأدلة وأنظمة العمل المصدرة لقطر الخيرية‬
   ‫‪25‬‬

   ‫‪20‬‬

   ‫‪15‬‬
                                                                     ‫‪25‬‬
   ‫‪10‬‬                                 ‫‪18‬‬
    ‫‪5‬‬                                                                             ‫‪12‬‬
                                                                                                 ‫‪2‬‬              ‫‪2‬‬
           ‫‪4‬‬             ‫‪5‬‬                           ‫‪6‬‬
    ‫‪0‬‬
         ‫الهوية‬   ‫الهيكل والبناء‬    ‫المالية‬        ‫الرقابة‬         ‫الموارد‬   ‫اإلدارية‬           ‫النظم‬    ‫أنظمة اإلدارة‬
         ‫والخطط‬     ‫التنظيمي‬                                       ‫البشرية‬                   ‫اإللكترونية‬    ‫الدولية‬
                                                                                                           ‫المعتمدة‬




                  ‫اللوائح والسياسات وأنظمة وأدلة العمل للمقر الرئيس والمكاتب الميدانية‬




                                                 ‫‪32‬‬
                                                               ‫‪42‬‬



                                        ‫المقر الرئيس‬          ‫المكاتب الميدانية‬

                                                                                                                 ‫‪.5‬‬




                                                                                                                 ‫‪.6‬‬


                                                                                                                 ‫‪.7‬‬
                                                                                                                 ‫‪.8‬‬


                                                                                                                 ‫‪.9‬‬


                                   ‫معاً ‪ . .‬نحو بناء مؤسسي متميز‬                       ‫إصدار‪ :‬فبراير ‪2016‬م‬   ‫‪Page 16 of 46‬‬
Case 1:21-cv-05716-AMD-VMS Document 58-26 Filed 03/18/22 Page 66 of 95 PageID #: 919

[ 2015           ]                                                                      ‫قـطــر الـخـيــريـة‬

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                     MenaMe                                                      
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                                                              .                  
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                                          Lync                                   
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                        sms                                                      
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                              ‫ نحو بناء مؤسسي متميز‬. . ً‫معا‬       ‫م‬2016 ‫ فبراير‬:‫إصدار‬   Page 17 of 46
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[ 2015                ]                                                                   ‫قـطــر الـخـيــريـة‬

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                                                                                     
                                            kiosk                                    
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                                                                                           .3


     74                   22        2015                                             
                                                   96
               1435          2015                                                    
               201           2015                                                    
           6          2015                                                           
                                                                                           .4




                                    ‫ نحو بناء مؤسسي متميز‬. . ً‫معا‬   ‫م‬2016 ‫ فبراير‬:‫إصدار‬   Page 18 of 46
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‫‪[ 2015‬‬                ‫]‬                                                                      ‫قـطــر الـخـيــريـة‬

                                                                                              ‫‪.5‬‬


                                                                                              ‫‪.6‬‬


                                                                                              ‫‪.7‬‬
                                                                                  ‫‪20‬‬          ‫‪.8‬‬


                                                                                              ‫‪.9‬‬
                                                                                             ‫‪.10‬‬


                                                                                             ‫‪.11‬‬
     ‫‪60,000‬‬      ‫‪50,000‬‬                                           ‫‪50‬‬



     ‫‪1 678 637‬‬               ‫‪10,605,772‬‬           ‫‪2015‬‬                                          ‫•‬


                          ‫‪6,416,320‬‬                                                             ‫•‬
                                                                          ‫‪12‬‬           ‫‪-‬‬
                     ‫‪2,785,640‬‬                                   ‫‪(IHH).‬‬
         ‫‪3,630,680‬‬                                                         ‫‪10‬‬          ‫‪-‬‬
                                                                        ‫‪60‬‬                      ‫•‬
                                                                   ‫‪201‬‬
                                                                                                ‫•‬




                                 ‫معاً ‪ . .‬نحو بناء مؤسسي متميز‬         ‫إصدار‪ :‬فبراير ‪2016‬م‬   ‫‪Page 19 of 46‬‬
‫‪Case 1:21-cv-05716-AMD-VMS Document 58-26 Filed 03/18/22 Page 69 of 95 PageID #: 922‬‬

‫‪[ 2015‬‬              ‫]‬                                                                                   ‫قـطــر الـخـيــريـة‬




                                                                                                                        ‫‪‬‬



            ‫‪2013‬‬          ‫‪2014‬‬          ‫‪2015‬‬                                   ‫‪2015‬‬

                                 ‫‪2013‬‬                            ‫‪2012‬‬


   ‫‪2014‬‬



   ‫‪2013‬‬   ‫‪2012‬‬                   ‫‪2014‬‬             ‫‪2013‬‬              ‫‪2012‬‬              ‫‪2011‬‬

   ‫‪15%‬‬    ‫‪29%‬‬      ‫‪25%‬‬      ‫‪173,506,770‬‬        ‫‪151,368,850‬‬       ‫‪134,785,882‬‬     ‫‪90,711,840‬‬

   ‫‪29%‬‬    ‫‪37%‬‬      ‫‪24%‬‬      ‫‪167,370,536‬‬        ‫‪129,688,286‬‬       ‫‪122,598,348‬‬     ‫‪47,476,997‬‬

   ‫‪85%‬‬    ‫‪21%‬‬      ‫‪17%‬‬      ‫‪119,627,236‬‬        ‫‪64,493,501‬‬        ‫‪98,882,205‬‬      ‫‪30,335,583‬‬

   ‫‪16%‬‬    ‫‪43%‬‬      ‫‪6%‬‬       ‫‪38,103,931‬‬         ‫‪32,955,358‬‬        ‫‪26,728,599‬‬      ‫‪24,206,726‬‬

   ‫‪43%‬‬    ‫‪417%‬‬     ‫‪6%‬‬       ‫‪44,486,988‬‬         ‫‪31,136,377‬‬         ‫‪8,605,250‬‬       ‫‪2,705,550‬‬

   ‫‪66%‬‬    ‫‪1085%‬‬    ‫‪5%‬‬       ‫‪35,178,999‬‬         ‫‪21,171,193‬‬         ‫‪2,969,095‬‬       ‫‪1,522,767‬‬


   ‫‪153%‬‬   ‫‪1708%‬‬    ‫‪6%‬‬       ‫‪44,339,527‬‬         ‫‪17,538,726‬‬         ‫‪2,452,560‬‬      ‫‪44,178,558‬‬


   ‫‪83%‬‬    ‫‪146%‬‬     ‫‪4%‬‬       ‫‪29,506,984‬‬         ‫‪16,104,056‬‬        ‫‪11,979,331‬‬       ‫‪2,361,222‬‬

   ‫‪181%‬‬   ‫‪68%‬‬      ‫‪4%‬‬       ‫‪29,870,273‬‬         ‫‪10,624,546‬‬        ‫‪17,814,239‬‬       ‫‪9,075,991‬‬

   ‫‪126%‬‬   ‫‪38%‬‬      ‫‪1%‬‬        ‫‪5,469,452‬‬          ‫‪2,421,131‬‬         ‫‪3,958,357‬‬       ‫‪4,802,841‬‬

   ‫‪44%‬‬    ‫‪60%‬‬      ‫‪100%‬‬     ‫‪687,460,697‬‬        ‫‪477,502,025‬‬       ‫‪430,773,866‬‬     ‫‪257,378,076‬‬




                                 ‫معاً ‪ . .‬نحو بناء مؤسسي متميز‬                    ‫إصدار‪ :‬فبراير ‪2016‬م‬   ‫‪Page 20 of 46‬‬
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‫‪[ 2015‬‬              ‫]‬                                                                  ‫قـطــر الـخـيــريـة‬




                                                                                               ‫‪-‬‬
                                                          ‫‪2030‬‬




                                                                              ‫‪.1‬‬
                                                                              ‫‪.2‬‬
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                                                                              ‫‪.4‬‬
                                                                              ‫‪.5‬‬




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                                                                                                   ‫‪-‬‬


‫‪50‬‬                                                                                                 ‫‪-‬‬


                                                ‫‪37‬‬                  ‫‪1436‬‬                           ‫‪-‬‬
     ‫‪13‬‬                           ‫‪2‬‬                                                     ‫‪21‬‬




                                                                                                   ‫‪-‬‬
                                                                        ‫‪385.000‬‬
              ‫‪56‬‬                                                                                   ‫‪-‬‬
                   ‫‪25‬‬                             ‫‪95‬‬
                                           ‫‪5‬‬                         ‫‪875,398‬‬



                          ‫معاً ‪ . .‬نحو بناء مؤسسي متميز‬          ‫إصدار‪ :‬فبراير ‪2016‬م‬   ‫‪Page 21 of 46‬‬
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‫‪[ 2015‬‬           ‫]‬                                                                            ‫قـطــر الـخـيــريـة‬

                                                                                                        ‫‪-‬‬


   ‫‪55,172,653‬‬           ‫‪2014 9 2‬‬                              ‫‪15‬‬                                        ‫‪-‬‬
                                                                                    ‫‪60‬‬
                                                                                                        ‫‪-‬‬


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                     ‫‪31,500‬‬                            ‫‪1 050‬‬
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                                                    ‫‪4 500‬‬
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                  ‫‪450‬‬
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                                   ‫‪12,000‬‬                              ‫‪1436‬‬                                 ‫‪-‬‬
                                                                                              ‫‪5,600‬‬
                                                                                                            ‫‪-‬‬
                                   ‫‪550‬‬                                 ‫‪46‬‬
                                                                                                            ‫‪-‬‬
                                                                   ‫‪5‬‬


                              ‫معاً ‪ . .‬نحو بناء مؤسسي متميز‬             ‫إصدار‪ :‬فبراير ‪2016‬م‬   ‫‪Page 22 of 46‬‬
‫‪Case 1:21-cv-05716-AMD-VMS Document 58-26 Filed 03/18/22 Page 72 of 95 PageID #: 925‬‬

‫‪[ 2015‬‬             ‫]‬                                                                        ‫قـطــر الـخـيــريـة‬

                                                           ‫‪19‬‬                                            ‫‪-‬‬




                                                                                                         ‫‪-‬‬




                         ‫‪242‬‬       ‫‪2015‬‬                                                                  ‫‪-‬‬
                                                                 ‫‪29‬‬       ‫‪2016 4‬‬




                                                                ‫‪20‬‬                                       ‫‪-‬‬


         ‫‪100‬‬                                                                                             ‫‪-‬‬


                                                                                                         ‫‪-‬‬




                                                                                                         ‫‪-‬‬


 ‫‪2015‬‬             ‫‪964‬‬   ‫‪2014‬‬
                                                                                    ‫‪1 052‬‬
                                                                                                         ‫‪-‬‬


                                                                                                         ‫‪-‬‬
           ‫‪150‬‬


                 ‫‪205‬‬                  ‫‪2015‬‬         ‫‪2004‬‬                                                  ‫‪-‬‬




                           ‫معاً ‪ . .‬نحو بناء مؤسسي متميز‬              ‫إصدار‪ :‬فبراير ‪2016‬م‬   ‫‪Page 23 of 46‬‬
‫‪Case 1:21-cv-05716-AMD-VMS Document 58-26 Filed 03/18/22 Page 73 of 95 PageID #: 926‬‬

‫‪[ 2015‬‬             ‫]‬                                                                 ‫قـطــر الـخـيــريـة‬




                               ‫‪23,280,349‬‬           ‫‪2015‬‬



                        ‫‪2015‬‬



            ‫‪186‬‬                   ‫‪3,403,676‬‬
             ‫‪73‬‬                   ‫‪5,454,612‬‬
            ‫‪201‬‬                   ‫‪9,929,668‬‬
            ‫‪114‬‬                   ‫‪1,946,717‬‬
             ‫‪7‬‬                     ‫‪114,450‬‬
             ‫‪1‬‬                       ‫‪7000‬‬
             ‫‪43‬‬                    ‫‪779,192‬‬
             ‫‪15‬‬                    ‫‪210,760‬‬
             ‫‪10‬‬                    ‫‪183,000‬‬
             ‫‪9‬‬                    ‫‪1,013,274‬‬
             ‫‪4‬‬                       ‫‪63000‬‬
             ‫‪2‬‬                       ‫‪20000‬‬
             ‫‪5‬‬                      ‫‪155000‬‬

                  ‫‪670‬‬                  ‫‪23,280,349‬‬




                  ‫‪158‬‬                   ‫‪9,335,499‬‬
                  ‫‪512‬‬                  ‫‪13,944,850‬‬

                  ‫‪670‬‬                  ‫‪23,280,349‬‬




                               ‫معاً ‪ . .‬نحو بناء مؤسسي متميز‬   ‫إصدار‪ :‬فبراير ‪2016‬م‬   ‫‪Page 24 of 46‬‬
‫‪Case 1:21-cv-05716-AMD-VMS Document 58-26 Filed 03/18/22 Page 74 of 95 PageID #: 927‬‬

‫‪[ 2015‬‬            ‫]‬                                                                       ‫قـطــر الـخـيــريـة‬



                                                      ‫‪8‬‬




                           ‫‪1 000‬‬                                     ‫‪82‬‬                           ‫‪)1‬‬


         ‫‪40‬‬                                                                                       ‫‪)2‬‬
                                                                            ‫‪200‬‬                   ‫‪)3‬‬
                                                                                   ‫‪400‬‬            ‫‪)4‬‬


                                                                   ‫‪1200‬‬                           ‫‪)5‬‬


                                                                     ‫‪1000‬‬                         ‫‪)6‬‬




    ‫‪2015‬‬          ‫‪2014‬‬                 ‫‪2013‬‬                 ‫‪2012‬‬               ‫‪2011‬‬

              ‫‪8‬‬       ‫‪10‬‬                      ‫‪7‬‬                ‫‪6‬‬                     ‫‪5‬‬




                            ‫معاً ‪ . .‬نحو بناء مؤسسي متميز‬           ‫إصدار‪ :‬فبراير ‪2016‬م‬   ‫‪Page 25 of 46‬‬
‫‪Case 1:21-cv-05716-AMD-VMS Document 58-26 Filed 03/18/22 Page 75 of 95 PageID #: 928‬‬

‫‪[ 2015‬‬           ‫]‬                                                              ‫قـطــر الـخـيــريـة‬



                                    ‫‪73‬‬          ‫‪2015‬‬



                                                                                       ‫‪‬‬
                                       ‫‪22‬‬




                                                 ‫‪30‬‬


                                                                           ‫‪.1‬‬
                                                                           ‫‪.2‬‬
                                                                           ‫‪.3‬‬
                                                                           ‫‪.4‬‬
                                                                           ‫‪.5‬‬




                                                                                       ‫‪‬‬

                          ‫معاً ‪ . .‬نحو بناء مؤسسي متميز‬   ‫إصدار‪ :‬فبراير ‪2016‬م‬   ‫‪Page 26 of 46‬‬
‫‪Case 1:21-cv-05716-AMD-VMS Document 58-26 Filed 03/18/22 Page 76 of 95 PageID #: 929‬‬

‫‪[ 2015‬‬           ‫]‬                                                                         ‫قـطــر الـخـيــريـة‬

                                     ‫‪2015‬‬

                                            ‫‪73‬‬             ‫‪3‬‬




                      ‫‪.1‬‬                      ‫‪.1‬‬                ‫‪.1‬‬                               ‫‪.1‬‬

                      ‫‪.2‬‬                      ‫‪.2‬‬                                                 ‫‪.2‬‬

                      ‫‪.3‬‬                      ‫‪.3‬‬                                                 ‫‪.3‬‬

                      ‫‪.4‬‬                      ‫‪.4‬‬                ‫‪.2‬‬                               ‫‪.4‬‬

                      ‫‪.5‬‬                      ‫‪.5‬‬                ‫‪.3‬‬                               ‫‪.5‬‬

                      ‫‪.6‬‬                      ‫‪.6‬‬                ‫‪.4‬‬                               ‫‪.6‬‬

                      ‫‪.7‬‬                      ‫‪.7‬‬                ‫‪.5‬‬                               ‫‪.7‬‬

                      ‫‪.8‬‬                      ‫‪.8‬‬                ‫‪.6‬‬                               ‫‪.8‬‬

                      ‫‪.9‬‬                                        ‫‪.7‬‬                               ‫‪.9‬‬

                     ‫‪.10‬‬                                        ‫‪.8‬‬                             ‫‪.10‬‬

                     ‫‪.11‬‬                                        ‫‪.9‬‬

                     ‫‪.12‬‬                                       ‫‪.10‬‬

                     ‫‪.13‬‬                                       ‫‪.11‬‬

                     ‫‪.14‬‬                                       ‫‪.12‬‬

                                                                                             ‫‪‬‬


‫‪21‬‬                                  ‫‪2015‬‬




                       ‫إنجازات المكاتب الميدانية خالل عام ‪2015‬م‬


                           ‫معاً ‪ . .‬نحو بناء مؤسسي متميز‬             ‫إصدار‪ :‬فبراير ‪2016‬م‬   ‫‪Page 27 of 46‬‬
‫‪Case 1:21-cv-05716-AMD-VMS Document 58-26 Filed 03/18/22 Page 77 of 95 PageID #: 930‬‬

 ‫‪[ 2015‬‬                ‫]‬                                                                                  ‫قـطــر الـخـيــريـة‬




                                                         ‫‪56‬‬           ‫‪2015‬‬                                                  ‫‪-‬‬
    ‫‪8,263,755‬‬
                                               ‫‪2014‬‬                                             ‫‪391‬‬
                                                                          ‫‪17,467‬‬                               ‫‪18,024‬‬
    ‫‪32‬‬                     ‫‪6,000,000‬‬         ‫‪2015‬‬                                                                           ‫‪-‬‬
                                                ‫‪3,200‬‬                                    ‫‪2014‬‬
                                                                                     ‫‪2015‬‬                                   ‫‪-‬‬
                                                                     ‫‪10,000‬‬
                                                                                                                            ‫‪-‬‬
                                                                                                                            ‫‪-‬‬
                                                                                                          ‫‪2015‬‬



                                                         ‫‪78‬‬           ‫‪2015‬‬                                                  ‫‪-‬‬
                  ‫‪1,351,000‬‬
          ‫‪6 642‬‬                                                    ‫‪2014‬‬                                              ‫‪72‬‬
                                                                                                         ‫‪11,340‬‬
    ‫‪8‬‬                      ‫‪3,398,389‬‬        ‫‪2015‬‬                                                                            ‫‪-‬‬
                                                ‫‪1,583‬‬                                    ‫‪2014‬‬
                                          ‫‪25‬‬                                         ‫‪2015‬‬                                   ‫‪-‬‬
‫‪2,500‬‬


                                                                                                                            ‫‪-‬‬




                                          ‫‪2015‬‬                ‫‪750‬‬                           ‫‪2013‬‬




                                   ‫معاً ‪ . .‬نحو بناء مؤسسي متميز‬                   ‫إصدار‪ :‬فبراير ‪2016‬م‬    ‫‪Page 28 of 46‬‬
‫‪Case 1:21-cv-05716-AMD-VMS Document 58-26 Filed 03/18/22 Page 78 of 95 PageID #: 931‬‬

‫‪[ 2015‬‬              ‫]‬                                                                                ‫قـطــر الـخـيــريـة‬

                                        ‫‪870,626‬‬            ‫‪2015‬‬                                                        ‫‪-‬‬
‫‪2014‬‬                                      ‫‪4‬‬
     ‫‪25‬‬                 ‫‪5,734,744‬‬         ‫‪2015‬‬                                                                         ‫‪-‬‬
                                                  ‫‪2,338‬‬                                ‫‪2014‬‬
                                                                                   ‫‪2015‬‬                                ‫‪-‬‬
            ‫‪365,619‬‬
                                                                              ‫‪300‬‬
                                                           ‫‪10,000‬‬



                                                      ‫‪56‬‬            ‫‪2015‬‬                                               ‫‪-‬‬


 ‫‪2014‬‬                                     ‫‪137‬‬                         ‫‪57,015,380‬‬
                                                          ‫‪9,338,569‬‬
     ‫‪17‬‬                 ‫‪17,381,136‬‬         ‫‪2015‬‬                                                                        ‫‪-‬‬
 ‫‪2014‬‬               ‫‪958‬‬                           ‫‪7,343‬‬                                ‫‪2014‬‬
                                                                                                                       ‫‪-‬‬




                                                                                   ‫‪5‬‬                                   ‫‪-‬‬




                                                   ‫‪741‬‬            ‫‪2015‬‬                                                 ‫‪-‬‬
‫‪19‬‬               ‫‪10,955,065‬‬
          ‫‪271,490‬‬                                                    ‫‪2014‬‬
     ‫‪32‬‬                 ‫‪19,429,705‬‬         ‫‪2015‬‬                                                                        ‫‪-‬‬
                                                 ‫‪11,157‬‬                                ‫‪2014‬‬
                                                                                                                       ‫‪-‬‬


                              ‫‪3,647,500‬‬                                  ‫‪2014 2013‬‬
                                                                                          ‫‪92 776‬‬



                                ‫معاً ‪ . .‬نحو بناء مؤسسي متميز‬                  ‫إصدار‪ :‬فبراير ‪2016‬م‬   ‫‪Page 29 of 46‬‬
‫‪Case 1:21-cv-05716-AMD-VMS Document 58-26 Filed 03/18/22 Page 79 of 95 PageID #: 932‬‬

 ‫‪[ 2015‬‬                ‫]‬                                                                              ‫قـطــر الـخـيــريـة‬

                                                                                                                        ‫‪-‬‬
                                               ‫‪593,500‬‬
                                                                                                      ‫‪81 250‬‬
                                                                                                                        ‫‪-‬‬
             ‫‪365,000‬‬
                                                                          ‫‪600‬‬
                                                                                                                        ‫‪-‬‬
                                    ‫‪3,000,000‬‬
                                                                                                ‫‪71,373‬‬



                                                        ‫‪433‬‬        ‫‪2015‬‬                                                 ‫‪-‬‬
‫‪14,778,697‬‬
                                                        ‫‪137,163‬‬
    ‫‪25‬‬                     ‫‪12,143,006‬‬         ‫‪2015‬‬                                                                      ‫‪-‬‬
                                                     ‫‪3,973‬‬                            ‫‪2014‬‬
                                                                                  ‫‪2015‬‬                                  ‫‪-‬‬
          ‫‪20,000‬‬                                                   ‫‪17‬‬                  ‫‪2,876,300‬‬
                                                       ‫‪2015‬‬                                                             ‫‪-‬‬


                                                                                                                        ‫‪-‬‬
                                                                                                                        ‫‪-‬‬



                                                        ‫‪974‬‬        ‫‪2015‬‬                                                 ‫‪-‬‬
‫‪14,105,053‬‬
                                            ‫‪2014‬‬                                          ‫‪36‬‬
                                                                                                         ‫‪137,163‬‬
    ‫‪10‬‬                     ‫‪5,631,959‬‬         ‫‪2015‬‬                                                                       ‫‪-‬‬
                                                     ‫‪2,581‬‬                            ‫‪2014‬‬




                                   ‫معاً ‪ . .‬نحو بناء مؤسسي متميز‬                ‫إصدار‪ :‬فبراير ‪2016‬م‬   ‫‪Page 30 of 46‬‬
‫‪Case 1:21-cv-05716-AMD-VMS Document 58-26 Filed 03/18/22 Page 80 of 95 PageID #: 933‬‬

 ‫‪[ 2015‬‬             ‫]‬                                                                             ‫قـطــر الـخـيــريـة‬

                                                    ‫‪1374‬‬          ‫‪2015‬‬                                              ‫‪-‬‬
                                    ‫‪55‬‬                      ‫‪8 615 120‬‬
                                                  ‫‪282 600‬‬                                                 ‫‪2014‬‬
    ‫‪18‬‬                  ‫‪7,444,290‬‬         ‫‪2015‬‬                                                                      ‫‪-‬‬
                                                  ‫‪4,056‬‬                           ‫‪2014‬‬
                                                                                                                    ‫‪-‬‬
                                                ‫‪2,044,000‬‬
          ‫‪141 450‬‬                                               ‫‪3,018,000‬‬                              ‫‪97 000‬‬




                                                    ‫‪4936‬‬          ‫‪2015‬‬                                              ‫‪-‬‬
                         ‫‪124‬‬                     ‫‪71 275 993‬‬
                                   ‫‪990 030‬‬                                                   ‫‪2014‬‬
    ‫‪9‬‬                   ‫‪3,848,074‬‬        ‫‪2015‬‬                                                                       ‫‪-‬‬
                                                  ‫‪2,259‬‬                           ‫‪2014‬‬
                         ‫‪2015‬‬                                                                                       ‫‪-‬‬




                                                                                                                    ‫‪-‬‬




                                                      ‫‪226‬‬         ‫‪2015‬‬                                              ‫‪-‬‬
‫‪29 405‬‬                                                     ‫‪15 363 140‬‬


    ‫‪63‬‬                   ‫‪925,835‬‬         ‫‪2015‬‬                                                                       ‫‪-‬‬
                                                     ‫‪440‬‬                          ‫‪2014‬‬
                                                                                                                    ‫‪-‬‬




                                ‫معاً ‪ . .‬نحو بناء مؤسسي متميز‬               ‫إصدار‪ :‬فبراير ‪2016‬م‬   ‫‪Page 31 of 46‬‬
‫‪Case 1:21-cv-05716-AMD-VMS Document 58-26 Filed 03/18/22 Page 81 of 95 PageID #: 934‬‬

‫‪[ 2015‬‬                   ‫]‬                                                                              ‫قـطــر الـخـيــريـة‬




                                     ‫‪114‬‬                   ‫‪2015‬‬                                                           ‫‪-‬‬
         ‫‪3 632 293‬‬
                                                                       ‫‪36 000‬‬
                                                                                                                          ‫‪-‬‬


                                                                                            ‫‪100‬‬
                     ‫‪4,613,637‬‬                                                              ‫‪2015‬‬
                                                                                              ‫‪2016‬‬             ‫‪30‬‬




                                                         ‫‪2015‬‬                                                             ‫‪-‬‬




                      ‫‪UNHCR‬‬


                              ‫‪221,100‬‬           ‫‪2015‬‬                                                                      ‫‪-‬‬
                                                                                                                 ‫‪847‬‬
                             ‫‪2015‬‬                   ‫‪1,146,154‬‬                                                             ‫‪-‬‬




                                                          ‫‪3‬‬           ‫‪2015‬‬                                                ‫‪-‬‬
                     ‫‪1,360‬‬                                                   ‫‪316,657‬‬
‫‪225‬‬                                 ‫‪48,782‬‬        ‫‪2015‬‬                                                                    ‫‪-‬‬


                                                                                                                          ‫‪-‬‬
                                                                                                ‫‪254,436‬‬
                                                                                                                          ‫‪-‬‬




                                      ‫معاً ‪ . .‬نحو بناء مؤسسي متميز‬               ‫إصدار‪ :‬فبراير ‪2016‬م‬   ‫‪Page 32 of 46‬‬
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‫‪[ 2015‬‬                  ‫]‬                                                                             ‫قـطــر الـخـيــريـة‬




                                                        ‫‪4953‬‬         ‫‪2015‬‬                                               ‫‪-‬‬
          ‫‪55‬‬                   ‫‪18,709,181‬‬
                        ‫‪396,659‬‬                                                ‫‪2014‬‬

     ‫‪75‬‬                     ‫‪2,839,636‬‬         ‫‪2015‬‬                                                                      ‫‪-‬‬
                                                      ‫‪1,271‬‬                           ‫‪2014‬‬
                                                                                                                        ‫‪-‬‬
               ‫‪15 800‬‬                                                       ‫‪761,215‬‬


                                         ‫‪2,394,170‬‬
                                                                                                   ‫‪41 200‬‬
                                                                                                                        ‫‪-‬‬


                                                                                                                        ‫‪-‬‬
                                                                                               ‫‪3‬‬


                                                                                                                        ‫‪-‬‬
‫‪23‬‬                                                                           ‫‪2015‬‬                           ‫‪3‬‬




                                                                                                                        ‫‪-‬‬
                                                               ‫‪29,340,701‬‬      ‫‪2015‬‬


     ‫‪11‬‬                     ‫‪27,785,100‬‬         ‫‪2015‬‬                                                                     ‫‪-‬‬
                                                     ‫‪52,080‬‬                           ‫‪2014‬‬



                                ‫‪2015‬‬                                                                                    ‫‪-‬‬


                                                  ‫‪1,825,000‬‬


                                    ‫معاً ‪ . .‬نحو بناء مؤسسي متميز‬               ‫إصدار‪ :‬فبراير ‪2016‬م‬   ‫‪Page 33 of 46‬‬
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 ‫‪[ 2015‬‬            ‫]‬                                                                         ‫قـطــر الـخـيــريـة‬




                                                     ‫‪595‬‬        ‫‪2015‬‬                                           ‫‪-‬‬
                           ‫‪4 604 703‬‬
                                                                              ‫‪22 464‬‬
    ‫‪21‬‬                 ‫‪3 209 082‬‬          ‫‪2015‬‬                                                                 ‫‪-‬‬
                                                  ‫‪1,838‬‬                      ‫‪2014‬‬



                                                     ‫‪556‬‬        ‫‪2015‬‬                                           ‫‪-‬‬
    ‫‪15,325,368‬‬
‫‪50,285‬‬                                         ‫‪2014‬‬                                  ‫‪576‬‬


    ‫‪28‬‬                 ‫‪2,955,437‬‬          ‫‪2015‬‬                                                                 ‫‪-‬‬
                                                  ‫‪2,015‬‬                      ‫‪2014‬‬




                                                    ‫‪4953‬‬        ‫‪2015‬‬                                           ‫‪-‬‬
                          ‫‪18,709,181‬‬
                 ‫‪71,500‬‬                                                       ‫‪55,800‬‬
    ‫‪183‬‬                ‫‪2,178,894‬‬           ‫‪2015‬‬                                                                ‫‪-‬‬
                                                  ‫‪1,292‬‬                      ‫‪2014‬‬
                                                                                                               ‫‪-‬‬
                          ‫‪656‬‬




                                ‫معاً ‪ . .‬نحو بناء مؤسسي متميز‬          ‫إصدار‪ :‬فبراير ‪2016‬م‬   ‫‪Page 34 of 46‬‬
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[ 2015           ]                                                                               ‫قـطــر الـخـيــريـة‬



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               2015


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                                              23                 Start Network                          
                                                   Start Network
                                                                 DFID
                                                                                                        




                          ‫ نحو بناء مؤسسي متميز‬. . ً‫معا‬                    ‫م‬2016 ‫ فبراير‬:‫إصدار‬   Page 35 of 46
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‫‪[ 2015‬‬             ‫]‬                                                                   ‫قـطــر الـخـيــريـة‬




                                                                                              ‫‪‬‬




                                                                                              ‫‪‬‬


                          ‫‪2015‬‬




                                                                                              ‫‪‬‬


                                                          ‫‪2015‬‬




                ‫‪2016‬‬
                                    ‫‪25‬‬


                                                                                                       ‫‪‬‬




                                                                        ‫‪2015‬‬
‫‪2016‬‬                                                                                          ‫‪‬‬
         ‫‪1945‬‬


                          ‫معاً ‪ . .‬نحو بناء مؤسسي متميز‬          ‫إصدار‪ :‬فبراير ‪2016‬م‬   ‫‪Page 36 of 46‬‬
‫‪Case 1:21-cv-05716-AMD-VMS Document 58-26 Filed 03/18/22 Page 86 of 95 PageID #: 939‬‬

‫‪[ 2015‬‬           ‫]‬                                                                       ‫قـطــر الـخـيــريـة‬

                                                            ‫‪2015‬‬




                                                                                                ‫‪‬‬


                                     ‫‪15‬‬                   ‫‪2015‬‬
                                          ‫‪2015‬‬                                                  ‫‪‬‬




                                           ‫‪120‬‬
                                          ‫‪2015‬‬                                                  ‫‪‬‬




                                               ‫‪100‬‬




                                                                                                ‫‪‬‬




                                                                                                         ‫‪‬‬




                                                 ‫‪2015‬‬
                                                                                                ‫‪‬‬




                          ‫معاً ‪ . .‬نحو بناء مؤسسي متميز‬            ‫إصدار‪ :‬فبراير ‪2016‬م‬   ‫‪Page 37 of 46‬‬
‫‪Case 1:21-cv-05716-AMD-VMS Document 58-26 Filed 03/18/22 Page 87 of 95 PageID #: 940‬‬

‫‪[ 2015‬‬           ‫]‬                                                              ‫قـطــر الـخـيــريـة‬




                                                                                       ‫‪‬‬




                                                                                       ‫‪‬‬




                                                                                       ‫‪‬‬




                                                                  ‫‪2015‬‬


                                                                                       ‫‪‬‬


                                                                                       ‫‪‬‬


                                                          ‫‪2015‬‬
                                                                                       ‫‪‬‬




                          ‫معاً ‪ . .‬نحو بناء مؤسسي متميز‬   ‫إصدار‪ :‬فبراير ‪2016‬م‬   ‫‪Page 38 of 46‬‬
‫‪Case 1:21-cv-05716-AMD-VMS Document 58-26 Filed 03/18/22 Page 88 of 95 PageID #: 941‬‬

‫‪[ 2015‬‬                     ‫]‬                                                                              ‫قـطــر الـخـيــريـة‬




                                                                                                                 ‫‪‬‬


                          ‫‪2015‬‬




‫‪2014‬‬               ‫‪20.7‬‬                                      ‫‪39‬‬                          ‫‪91.846‬‬          ‫‪2015‬‬
                                                                       ‫‪76.093‬‬
           ‫‪18.42‬‬                         ‫‪181.073.618‬‬                  ‫‪2015‬‬
                                                                   ‫‪152.909.640‬‬                           ‫‪2014‬‬



       ‫السنوات‬            ‫‪2011‬‬           ‫‪2012‬‬                 ‫‪2013‬‬               ‫‪2014‬‬             ‫‪2015‬‬

   ‫عدد الكفاالت‬           ‫‪40333‬‬         ‫‪57199‬‬                ‫‪62416‬‬               ‫‪76093‬‬            ‫‪91846‬‬

    ‫عدد الدول‬              ‫‪32‬‬             ‫‪34‬‬                   ‫‪34‬‬                 ‫‪34‬‬               ‫‪39‬‬

       ‫المدفوع‬        ‫‪86,269,869‬‬    ‫‪109,295,196‬‬          ‫‪127,582,366‬‬         ‫‪152,909,640‬‬     ‫‪181,073,618‬‬



                                                                                                                     ‫‪‬‬




                                                                                   ‫‪500‬‬




                                                           ‫‪2015‬‬
                                    ‫‪EAC‬‬                   ‫‪EAA‬‬



                                   ‫معاً ‪ . .‬نحو بناء مؤسسي متميز‬                   ‫إصدار‪ :‬فبراير ‪2016‬م‬    ‫‪Page 39 of 46‬‬
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[ 2015           ]                                                                              ‫قـطــر الـخـيــريـة‬




                                          2                                                                    1
                                          4                                                                    3

                                          6                                                                    5
                                          8                                                                    7
                                        10                                                                     9
                                        12                                                                   11
                                        14                                                                   13
                                        16                                                                   15
                                        18                                                                   17
                                        20                                                                   19
                                        22                                                                   21




                                              UNHCR                                                 .1
                                                                   FAO                              .2
                                                          UNICEF                                    .3
                                                                    WFP                             .4
                                           UNRWA                                                    .5
                                                           UNDP                                     .6
                                                      UNOCHA                                        .7
                                                                    IDB                             .8
                                           ISESCO                                                   .9
                                                                                                   .10
                                                                                                   .11




                          ‫ نحو بناء مؤسسي متميز‬. . ً‫معا‬                   ‫م‬2016 ‫ فبراير‬:‫إصدار‬   Page 40 of 46
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‫‪[ 2015‬‬                  ‫]‬                                                                              ‫قـطــر الـخـيــريـة‬




                                                                                                                       ‫‪‬‬
          ‫‪947,938,900‬‬        ‫‪2015‬‬
                                                                      ‫‪73‬‬


                             ‫‪2015‬‬



            ‫‪43,046,700‬‬                        ‫‪4,739‬‬                    ‫‪26‬‬
           ‫‪372,231,800‬‬                        ‫‪1,717‬‬                    ‫‪44‬‬
            ‫‪47,454,500‬‬                           ‫‪189‬‬                   ‫‪20‬‬
            ‫‪77,604,600‬‬                            ‫‪88‬‬                   ‫‪18‬‬
           ‫‪100,062,600‬‬                        ‫‪5,922‬‬                    ‫‪27‬‬
           ‫‪251,446,900‬‬                           ‫‪126‬‬                   ‫‪23‬‬
            ‫‪56,091,800‬‬                            ‫‪71‬‬                   ‫‪20‬‬
           ‫‪947,938,900‬‬                       ‫‪12,852‬‬                    ‫‪73‬‬


                                                                                                                   ‫‪‬‬
                             ‫‪144‬‬      ‫‪2015‬‬
                                       ‫‪14‬‬                      ‫‪2.43‬‬                                          ‫‪176‬‬




         ‫‪2015‬‬               ‫‪2 430 473‬‬                    ‫‪14‬‬                ‫‪144‬‬                         ‫‪176‬‬
         ‫‪2014‬‬               ‫‪2,245,650‬‬                    ‫‪13‬‬                ‫‪133‬‬                         ‫‪104‬‬
                               ‫‪8%‬‬                       ‫‪8%‬‬                  ‫‪8%‬‬                ‫‪69%‬‬


                                                                                                             ‫‪‬‬

                                                ‫‪2015‬‬                                                     ‫‪‬‬
                                                                                 ‫‪6,416,320‬‬

                                    ‫معاً ‪ . .‬نحو بناء مؤسسي متميز‬                ‫إصدار‪ :‬فبراير ‪2016‬م‬    ‫‪Page 41 of 46‬‬
‫‪Case 1:21-cv-05716-AMD-VMS Document 58-26 Filed 03/18/22 Page 91 of 95 PageID #: 944‬‬

‫‪[ 2015‬‬                ‫]‬                                                                                      ‫قـطــر الـخـيــريـة‬




                                                                                                                               ‫‪‬‬
                                                                                    ‫‪2015‬‬


                                                                                          ‫‪2‬‬                        ‫‪.1‬‬



                                                                       ‫‪3,652,390‬‬
   ‫‪46,500‬‬                                                                                                          ‫‪.2‬‬
               ‫‪18,206,122‬‬               ‫‪2015‬‬                        ‫‪22,385‬‬
                                                                                                                   ‫‪.3‬‬


                          ‫‪307,163‬‬
                                                                                                                   ‫‪.4‬‬




                                                                             ‫‪3,631,449 2015‬‬
                                                                                                                   ‫‪.5‬‬


                                                                                   ‫‪130,475‬‬
                          ‫‪123,810,953‬‬                                                                              ‫‪.6‬‬
                   ‫‪39,994,159‬‬                                                  ‫‪2014‬‬
            ‫‪326,888,282‬‬                                                                    ‫‪1436‬‬                    ‫‪.7‬‬


            ‫‪1435‬‬            ‫‪2014‬‬
                                                                                                  ‫‪274,964,393‬‬
         ‫‪16,287,080‬‬                                                                     ‫‪1436‬‬                       ‫‪.8‬‬
                              ‫‪88.44 12,145,629‬‬
                                                                ‫‪15,403,839‬‬       ‫‪1435‬‬                       ‫‪2014‬‬
                                                                                        ‫‪87.29 11,726,922‬‬
                                         ‫‪32,791,154‬‬                                                                ‫‪.9‬‬



                                    ‫معاً ‪ . .‬نحو بناء مؤسسي متميز‬                     ‫إصدار‪ :‬فبراير ‪2016‬م‬    ‫‪Page 42 of 46‬‬
‫‪Case 1:21-cv-05716-AMD-VMS Document 58-26 Filed 03/18/22 Page 92 of 95 PageID #: 945‬‬

‫‪[ 2015‬‬           ‫]‬                                                                                ‫قـطــر الـخـيــريـة‬

                                                ‫‪3,352,100‬‬                                              ‫‪.10‬‬
                                         ‫‪2,414,336‬‬                                                     ‫‪.11‬‬


                                                                                                                  ‫‪‬‬




                                                              ‫‪2015‬‬
                                                                                         ‫‪2015‬‬
                ‫‪62‬‬                                               ‫‪101 880 000‬‬                  ‫‪2‬‬
                  ‫‪2015‬‬                                                    ‫‪200‬‬




                ‫‪2016‬‬
         ‫‪30‬‬              ‫‪13‬‬                     ‫‪04‬‬                   ‫‪47‬‬                                      ‫‪01‬‬
         ‫‪15‬‬              ‫‪02‬‬                     ‫‪05‬‬                   ‫‪22‬‬                                      ‫‪02‬‬
         ‫‪05‬‬              ‫‪02‬‬                     ‫‪04‬‬                   ‫‪11‬‬                                      ‫‪03‬‬
                                                ‫‪02‬‬                   ‫‪02‬‬                                      ‫‪04‬‬
         ‫‪02‬‬                                     ‫‪04‬‬                   ‫‪06‬‬                                      ‫‪05‬‬
         ‫‪03‬‬                                                          ‫‪03‬‬                                      ‫‪06‬‬
         ‫‪10‬‬                                     ‫‪01‬‬                   ‫‪11‬‬                                      ‫‪07‬‬
         ‫‪01‬‬                                     ‫‪01‬‬                   ‫‪02‬‬                                      ‫‪08‬‬
                                                ‫‪01‬‬                   ‫‪01‬‬                                      ‫‪09‬‬
         ‫‪01‬‬                                     ‫‪01‬‬                   ‫‪02‬‬                                      ‫‪10‬‬
         ‫‪03‬‬                                     ‫‪02‬‬                   ‫‪05‬‬                                      ‫‪11‬‬
         ‫‪01‬‬                                     ‫‪01‬‬                   ‫‪02‬‬                                      ‫‪12‬‬
         ‫‪02‬‬                                     ‫‪04‬‬                   ‫‪06‬‬                                      ‫‪13‬‬
         ‫‪01‬‬              ‫‪01‬‬                     ‫‪04‬‬                   ‫‪06‬‬                                      ‫‪14‬‬
         ‫‪02‬‬                                                          ‫‪02‬‬                                      ‫‪15‬‬
                                                ‫‪03‬‬                   ‫‪03‬‬                                      ‫‪16‬‬



                              ‫معاً ‪ . .‬نحو بناء مؤسسي متميز‬                 ‫إصدار‪ :‬فبراير ‪2016‬م‬   ‫‪Page 43 of 46‬‬
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[ 2015           ]                                                                          ‫قـطــر الـخـيــريـة‬

         02           02                     04            08                                           17
         01                                                01                                           18
         79           20                     41            140


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                                                                Work Station




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                                                                                                    -




                           ‫ نحو بناء مؤسسي متميز‬. . ً‫معا‬              ‫م‬2016 ‫ فبراير‬:‫إصدار‬   Page 44 of 46
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‫‪[ 2015‬‬           ‫]‬                                                                        ‫قـطــر الـخـيــريـة‬




                                                                                                      ‫‪.1‬‬



                                                                                                      ‫‪.2‬‬

                                                                                                      ‫‪.3‬‬



                                                                                                      ‫‪.4‬‬



                       ‫‪2015‬‬         ‫‪31‬‬                         ‫‪10‬‬                                     ‫‪.5‬‬

                                                                                                      ‫‪.6‬‬

                                                                                                      ‫‪.7‬‬

                                                                                                      ‫‪.8‬‬

                                          ‫‪2015‬‬            ‫‪10‬‬

                                                                                                      ‫‪.9‬‬



                                                                                                    ‫‪.10‬‬



                                                                                                    ‫‪.11‬‬




                          ‫معاً ‪ . .‬نحو بناء مؤسسي متميز‬             ‫إصدار‪ :‬فبراير ‪2016‬م‬   ‫‪Page 45 of 46‬‬
‫‪Case 1:21-cv-05716-AMD-VMS Document 58-26 Filed 03/18/22 Page 95 of 95 PageID #: 948‬‬

‫‪[ 2015‬‬           ‫]‬                                                              ‫قـطــر الـخـيــريـة‬

                                                                                          ‫‪.12‬‬




                          ‫معاً ‪ . .‬نحو بناء مؤسسي متميز‬   ‫إصدار‪ :‬فبراير ‪2016‬م‬   ‫‪Page 46 of 46‬‬
